                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

    STATE OF NEW YORK and THE BOARD
    OF EDUCATION FOR THE CITY
    SCHOOL DISTRICT OF THE CITY OF
    NEW YORK,

                             Plaintiffs,                     Civil Action No. 1:20-cv-4260-JGK

                   v.                                        AMENDED COMPLAINT FOR
                                                             DECLARATORY AND INJUNCTIVE
    UNITED STATES DEPARTMENT OF                              RELIEF
    EDUCATION and ELISABETH DEVOS,
    in her official capacity as the Secretary of
    Education,

                             Defendants.


                                               INTRODUCTION

          1.      For nearly fifty years, Title IX of the Education Amendments of 1972, 20 U.S.C.

§§ 1681-1688 (“Title IX”), has been a crucial tool for addressing and eradicating sex-based

discrimination in federally funded education programs and activities. Under the landmark

federal civil rights law, “[n]o person in the United States shall, on the basis of sex, be excluded

from participation in, be denied the benefits of, or be subjected to discrimination under any

education program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a). Title

IX’s expansive prohibitions have protected generations of students, employees, and others from

the myriad forms of sex-based discrimination in elementary and secondary schools, colleges,

universities, and other entities offering education programs and activities.1

          2.      On May 19, 2020, the U.S. Department of Education (the “Department”) radically

and unjustifiably amended the Department’s longstanding Title IX implementing regulations


1
 For ease of reference, this Complaint collectively refers to covered entities as “schools” or “institutions,” although
Title IX also applies to other recipients offering education programs or activities (e.g., libraries, museums).
through its Final Rule, Nondiscrimination on the Basis of Sex in Education Programs or

Activities Receiving Federal Financial Assistance, 85 Fed. Reg. 30,026 (May 19, 2020) (the

“Final Rule”). The Final Rule guts decades of firmly established policy on schools’ obligations

to respond to sexual harassment and other forms of sex discrimination; strips existing protections

for students and others targeted for and victimized by sexual harassment; invents new rights for

individuals accused of sexual harassment that find no basis in the letter or spirit of Title IX; and

imposes onerous new procedural requirements on educational institutions. Implementing the

Final Rule would be a significant undertaking under normal circumstances, yet, in the midst of

the COVID-19 global pandemic, the Final Rule gives schools a mere 87 days to implement the

extensive and unwarranted changes to their policies, practices, and procedures.

       3.      As the Supreme Court has consistently recognized, the scope of Title IX’s anti-

discrimination protections is far-reaching. The Court has held that Title IX must be construed

expansively to “accord it a sweep as broad as its language.” N. Haven Bd. of Educ. v. Bell, 456

U.S. 512, 521 (1982). Accordingly, Title IX “covers a wide range of intentional unequal

treatment” based on sex. Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 175 (2005).

       4.      To fulfill Title IX’s broad anti-discrimination mandate, the Department is charged

with implementing and enforcing Title IX to ensure that schools provide all students, employees,

and others safe, nondiscriminatory learning environments. Through its Office for Civil Rights

(“OCR”), the Department enforces Title IX’s implementing regulations, codified at 34 C.F.R. pt.

106, by, among other things, investigating sex discrimination complaints against schools,

seeking voluntary measures to cure violations, and, in relatively rare cases, initiating

administrative enforcement proceedings that may result in the termination of federal funds.




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       5.      For decades, the Department has consistently interpreted Title IX to require

schools to investigate all sexually harassing conduct of which they have actual or constructive

notice, and to take steps reasonably calculated to prevent, address, and remedy any adverse

effects on individual students or the school environment. Until now, the Department has applied

these same standards to all forms of harassment, including gender-based harassment under Title

IX; harassment based on race, color, or national origin under Title VI of the Civil Rights Act of

1964, 42 U.S.C. §§ 2000d-2000d7 (“Title VI”); and harassment based on disability under

Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (“Section 504”), and Title II of

the Americans with Disabilities Act, 42 U.S.C. § 12132 (“Title II”).

       6.      In late 2018, the Department published a notice of proposed rulemaking, 83 Fed.

Reg. 61,462 (Nov. 29, 2018) (the “Proposed Rule”), under the auspices of providing greater

protections for individuals accused of sexual harassment. During the notice and comment

period, the Department received nearly 125,000 comments, many of which vigorously opposed

the Proposed Rule as an unwarranted departure from existing policies, a threat to the rights,

safety, and well-being of victims of sexual harassment and other forms of gender-based

discrimination, and a contravention of the Department’s statutory mandate to combat sex

discrimination in schools. A wide range of New York stakeholders—including the State’s

Attorney General, The State University of New York (“SUNY”), New York State Education

Department (“NYSED”), The Board of Education of the City School District of the City of New

York (a/k/a the New York City Department of Education) (“NYCDOE”), public and private

colleges and universities, public school districts, and victims’ rights groups, among others—

submitted comments in opposition to the Proposed Rule.




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       7.      Nevertheless, on May 19, 2020, the Department published the Final Rule,

retaining most of the objectionable provisions of the Proposed Rule. Upending decades of

established Title IX policy, the Final Rule redefines sexual harassment narrowly to exclude many

forms of harassment that deprive students and others from equal access to educational

opportunities; drastically limits, and in many instances prohibits, institutions from investigating

and addressing harassment; guts Title IX’s longstanding protections for survivors of sexual

harassment and assault; and abdicates the Department’s central role in enforcing schools’

compliance with Title IX’s prohibitions against sexual harassment.

       8.      In addition, the Final Rule prescribes, for the first time in Title IX’s history, an

unduly prescriptive and burdensome grievance and adjudicatory process that schools must follow

when they receive complaints of sexual harassment. The Final Rule imposes—in conflict with

Title IX’s central purpose of protecting students from sex-based discrimination—arbitrary and

burdensome procedural requirements that will frustrate schools’ ability to protect students.

       9.      The Final Rule will subject elementary and secondary schools serving students in

Kindergarten through 12th grade (“K-12”) to unique harm. The Final Rule arbitrarily imposes

the new grievance procedures, with limited exception, without regard to and in a manner that

conflicts with the unique, fundamental Constitutional and statutory obligations and

responsibilities K-12 schools have to the children they are required to educate in a safe and

secure school environment. The Final Rule puts K-12 schools in the untenable position of

having to reconcile these conflicting obligations to the students entrusted to their care.

Moreover, the Final Rule’s inflexible procedural requirements will traumatize elementary and

secondary students by forcing them to participate in adversarial processes that are not




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developmentally appropriate, pedagogically sound, or suitable for children or the K-12 school

environment.

       10.     The Final Rule radically and unjustifiably departs from the Department’s

longstanding Title IX enforcement policies. The Department’s drastic redefinition of sexual

harassment and the severe narrowing of schools’ obligations to investigate and respond to

harassing conduct that impedes access to their education programs will permit schools to ignore

conduct that harms students and others, interferes with equal access to education, and disrupts

the school environment. The Final Rule turns Title IX on its head: it deprives individuals

experiencing sexual harassment the longstanding right to go to school free from discriminatory

and harassing conduct, while creating a slew of highly prescriptive, burdensome grievance

procedures that will discourage victims from stepping forward and make it more difficult for

schools to fulfill their obligation of eradicating sex-based discrimination in their programs and

activities. These changes are an abrupt and stark departure from decades of Department policy,

and greatly undermine the central purpose of Title IX to address and prevent sex-based

discrimination in educational institutions.

       11.     The Final Rule contains significant provisions—including the newly-added

preemption and retaliation provisions—that were not included in the Proposed Rule and

therefore not subject to public notice and comment. The preemption clause, Final Rule at 30,573

(§ 106.6 (h)), requires schools to comply with the Final Rule to the extent a conflict with state or

local law exists. The retaliation provision, id. at 30,578-79 (§ 106.71), adopts an unduly

expansive definition of “retaliation,” unjustifiably restricting schools’ ability to take action

against respondents who refuse to participate in grievance proceedings, and forcing schools to

grapple with how to pursue code of conduct proceedings against respondents for actions that may



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not rise to the level of “sex discrimination or sexual harassment . . . but arise out of the same

facts or circumstances as a report or complaint of sex discrimination, or a report or formal

complaint of sexual harassment” without running afoul of the Final Rule’s preemption and

retaliation provisions. Id.

       12.     The preemption and retaliation provisions—together and separately—will hinder

the State, NYCDOE, and New York’s K-12 and postsecondary educational institutions from

enforcing their own policies that provide greater substantive and procedural protections to

victims of sexual harassment and assault than the amended Title IX regulations under the Final

Rule. At the postsecondary level, New York Education Law Article 129-B, N.Y. Educ. Law §§

6439-6449 (known as the “Enough is Enough” law), enacted in 2015 to combat sexual assault on

college and university campuses statewide, sets comprehensive and careful standards for colleges

in addressing sexual assault and has served as a model for similar laws across the country. At

the K-12 level, New York’s Dignity for All Students Act, N.Y. Educ. Law §§ 10-18 (“DASA”),

provides broad protections from sexual harassment for K-12 students, including imposing

obligations on K-12 schools to prevent and respond to gender-based discrimination, harassment,

including sexual harassment, intimidation, and bullying. Until this point, these laws

complemented and were coextensive with Title IX as they furthered the common purpose of

addressing sexual harassment in educational institutions. Now, the Final Rule will frustrate

Plaintiffs’ and New York educational institutions’ ability to enforce more robust protections

under Enough is Enough, DASA, and institutions’ own codes of conduct. Perversely, a school’s

good-faith compliance with these existing state-level protections may, under the Final Rule,

violate the Title IX regulations. Despite the significance of these provisions, the Department

failed to follow proper procedures in adopting them in the Final Rule.



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        13.     Adding insult to injury, the Department published the Final Rule in the midst of

the global COVID-19 pandemic that has shuttered nearly every school and college campus in the

country for at least the remainder of the 2019-2020 school year and possibly beyond. Ignoring

the extraordinary challenges that schools face during this public health crisis—including shifting

to virtual teaching and learning, implementing measures to keep school campuses safe, and

having to divert their limited financial resources to this response—the Department has

nevertheless set the effective date of the Final Rule for August 14, 2020, less than 90 days after

issuing a rule that will discard decades of established Title IX policy and practice.

        14.     The Final Rule will cause immediate, irreparable, and ongoing injury to Plaintiff

the State of New York (the “State”), Plaintiff NYCDOE, the State’s educational institutions, and

the State’s students and residents. Implementation of the Final Rule will drain and divert

educational resources from educational institutions operated or governed by Plaintiffs; hinder

Plaintiffs’ effective administration and enforcement of New York state laws and institutional

policies; harm Plaintiffs’ interest in ensuring all students can attend school in a safe,

nondiscriminatory environment conducive to teaching and learning; impede schools’ obligation

to ensure that policies and procedures are age-appropriate and pedagogically sound; and frustrate

Plaintiffs’ interest in enforcing robust civil rights protections for all victims of sexual

harassment.

        15.     Defendants’ drastic departure from longstanding Title IX policy violates the

Administrative Procedure Act (“APA”). First, the Department exceeds its statutory authority by

imposing burdensome procedural requirements that frustrate, rather than effectuate, Title IX’s

robust anti-discrimination protections. Second, the Final Rule is contrary to law, because it

unduly narrows the scope of protections afforded to students under Title IX, conflicts with other



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federal civil rights laws prohibiting harassment, violates students’ federal privacy rights, and

conflicts with federal protections for students with disabilities. Third, the Final Rule is arbitrary

and capricious because it fails to (a) justify the Department’s departure from decades of settled

policy, (b) adequately consider the substantial harms to educational institutions, their students

and employees, and the general public, or (3) justify the contravention of the Department’s

longstanding policy of applying the civil rights laws it enforces in a consistent manner, by

creating weaker standards for sexual harassment than for harassment based on race, national

origin, and disability. Finally, in publishing the Final Rule, Defendants failed to observe

procedures required by law, as certain provisions, including the preemption provision, were not

included in the Proposed Rule and were thus issued without adequate notice to the public.

       16.     Plaintiffs bring this action to vacate the Final Rule and enjoin its implementation

because (a) the Final Rule exceeds the Department’s statutory jurisdiction, authority, and

limitations in violation of the APA, 5 U.S.C. § 706(2)(C); (b) the Final Rule is arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with law under the APA, 5

U.S.C. § 706(2)(A); and (c) the Department failed to observe procedure required by law in

issuing aspects of the Final Rule in violation of 5 U.S.C. § 706(2)(D).

                                 JURISDICTION AND VENUE

       17.     The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 2201(a).

Jurisdiction is also proper under the judicial review provisions of the APA, 5 U.S.C. § 702.

       18.     Declaratory and injunctive relief is sought consistent with 5 U.S.C. §§ 705 and

706, and as authorized in 28 U.S.C. §§ 2201 and 2202.

       19.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b)(2) and (e)(1).

Defendants are United States agencies or officers sued in their official capacities. Plaintiff is a



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resident of this judicial district, and a substantial part of the events or omissions giving rise to

this Complaint occurred and are continuing to occur within the Southern District of New York.

                                              PARTIES

        20.     Plaintiff the State of New York, represented by and through its Attorney General,

is a sovereign state of the United States of America. The Attorney General is New York State’s

chief law enforcement officer and is authorized to pursue this action pursuant to N.Y. Executive

Law § 63. Plaintiff is aggrieved by Defendants’ actions and has standing to bring this action

because the Final Rule harms its sovereign, quasi-sovereign, economic, and proprietary interests

and will continue to cause injury unless and until the Final Rule is vacated and enjoined.

        21.     Plaintiff NYCDOE is a city school district governed by Article 52-A of the New

York Education Law. NYCDOE is the largest public school district in the nation. It serves 1.1

million students in over 1,600 schools. The NYCDOE is aggrieved by Defendants’ actions and

has standing to bring this action because the Final Rule: impedes its ability to ensure that all

students can attend school in a safe, nondiscriminatory environment conducive to teaching and

learning, and to ensure that its policies and procedures are age-appropriate and pedagogically

sound; causes harm to NYCDOE students; and harms NYCDOE’s economic interests.

        22.     Defendant United States Department of Education is a cabinet agency within the

executive branch of the United States government, and is an agency within the meaning of 5

U.S.C. § 552(f). The Department promulgated the Final Rule and is responsible for its

enforcement.

        23.     Defendant Elisabeth DeVos is the United States Secretary of Education and is

sued in her official capacity.




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                                         ALLEGATIONS

I.     Title IX and the Department’s Implementing Regulations Broadly Prohibit
       Discrimination on the Basis of Sex, Including Sexual and Gender-Based
       Harassment, in Federally Funded Education Programs and Activities.

       A.      Overview of Title IX.

       24.     Title IX, a landmark federal civil rights law, was enacted by Congress in 1972

with the broad goal of ensuring that all students have access to educational opportunities free

from discrimination on the basis of sex, and to further protect faculty, staff, and others from sex-

based discrimination in educational institutions. Title IX, which provides that “no person in the

United States shall, on the basis of sex, be excluded from participation in, be denied the benefits

of, or be subjected to discrimination under any education program or activity receiving Federal

financial assistance,” 20 U.S.C. § 1681(a), applies to all aspects of a school’s education program,

including academics, extracurricular activities, housing, admissions, recruiting, and employment.

       25.     Title IX, enacted under Congress’s Spending Clause powers, was modeled after

Title VI, which broadly prohibits all recipients of federal funds (including educational

institutions) from discriminating against individuals on the basis of race, color, or national origin.

See U.S. Dep’t of Educ., Off. for Civ. Rts., Sexual Harassment Guidance: Harassment of

Students by School Employees, Other Students, or Third Parties, 62 Fed. Reg. 12,034, 12,038 n.2

(Mar. 13, 1997) (“1997 Guidance”). Title IX’s anti-discrimination protections are virtually

identical to those under Title VI and Section 504 (which prohibits federal funding recipients

from discriminating against individuals on the basis of disability). The Department has long

recognized that Title IX’s protections against sexual harassment are similar to those applicable to

racial harassment in Title VI, as well as to the harassment protections for employees under Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2 (“Title VII”).



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        26.     As with Title VI, Section 504, and other civil rights laws adopted under the

Spending Clause, Title IX conditions federal education funding on covered institutions’

compliance with the statute’s broad anti-discrimination mandate. Title IX authorizes and directs

federal agencies that extend federal education funding, including the Department, to

administratively enforce its protections. See 20 U.S.C. § 1682. An institution’s failure to

comply with Title IX and refusal to adopt voluntary corrective measures to cure violations after

being notified of a violation by an agency may result in the termination of or refusal to extend

federal funds to that institution. Id.

        27.     Under the Civil Rights Restoration Act of 1987 (“CRRA”), Congress amended

Title IX, Title VI, Section 504, and the Age Discrimination Act to clarify that the terms

“program or activity” and “program” under those laws are defined as “all of the operations” of a

covered entity, “any part of which is extended Federal financial assistance.” Pub. L. No. 100-

259, 102 Stat. 28 (1988) (codified at 20 U.S.C. § 1687 (Title IX); 42 U.S.C. § 2000d-4a (Title

VI); 29 U.S.C. § 794(b) (Section 504); 42 U.S.C. § 6108 (Age Discrimination Act)). In enacting

the CRRA, Congress emphasized the expansive original purpose of these civil rights laws,

finding that “certain aspects of recent decisions and opinions of the Supreme Court have unduly

narrowed or cast doubt upon the broad application” of the laws and that “legislative action is

necessary to restore the prior consistent and long-standing executive branch interpretation and

broad, institution-wide application of those laws as previously administered.” Id.

        28.     Title IX contains a provision exempting an educational institution controlled by a

religious organization from parts of the law that are inconsistent with the organization’s religious

tenets. 20 U.S.C. § 1681(a)(3).




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       B.      The Department’s Title IX Implementing Regulations.

       29.     Every federal agency that provides federal funds to educational institutions must

issue regulations to effectuate Title IX. 20 U.S.C. § 1682.

       30.     As the Department provides funding to virtually all public schools, colleges, and

universities, and the vast majority of private higher educational institutions, it plays a significant

role in enforcing Title IX’s broad anti-discrimination mandate and regulating schools’

compliance with the law.

       31.     The Department’s predecessor, the U.S. Department of Health, Education, and

Welfare promulgated the agency’s Title IX implementing regulations in 1975. 40 Fed. Reg.

24,128 (June 4, 1975) (codified at 45 C.F.R. pt. 86). The regulations were formally adopted and

recodified without substantive changes by the Department when it began operations in 1980. 45

Fed. Reg. 30,802, 30,955-65 (May 9, 1980) (codified at 34 C.F.R. pt. 106). The Department has

enforced those regulations ever since. These regulations have furthered Title IX’s core purpose

of addressing and eradicating sex discrimination in education, and have provided a framework

for institutions’ compliance with Title IX’s broad anti-discrimination mandate.

       32.     The regulations, mirroring the statute, provide that “no person shall, on the basis

of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any academic, extracurricular, research, occupational training, or other

education program or activity operated by a recipient which receives Federal financial

assistance.” 34 C.F.R. § 106.31(a).

       33.     In addition, the regulations specifically prohibit institutions from engaging in

enumerated conduct, on the basis of sex, in “providing any aid, benefit, or service to a student.”

34 C.F.R. § 106.31(b). These specific prohibitions include, inter alia, “(1) [t]reat[ing] one



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person differently from another in determining whether such person satisfies any requirement or

condition for the provision of such aid, benefit, or service; (2) [p]rovid[ing] different aid,

benefits, or services or provide aid, benefits, or services in a different manner; (3) [d]eny[ing]

any person any such aid, benefit, or service; (4) [s]ubject[ing] any person to separate or different

rules of behavior, sanctions, or other treatment; . . . (6) [a]id[ing] or perpetuat[ing] discrimination

against any person by providing significant assistance to any agency, organization, or person

which discriminates on the basis of sex in providing any aid, benefit or service to students or

employees; [and] (7) [o]therwise limit[ing] any person in the enjoyment of any right, privilege,

advantage, or opportunity.” Id.

       34.     To effectuate these protections, the Department’s Title IX regulations have

always provided that where the Assistant Secretary for Civil Rights (“Assistant Secretary”) finds

that a covered institution has discriminated on the basis of sex, that institution “shall take such

remedial action as the Assistant Secretary deems necessary to overcome the effects of such

discrimination,” and, “[i]n the absence of a finding of discrimination on the basis of sex,” that

the institution “may take affirmative action to overcome the effects of conditions which resulted

in limited participation . . . by persons of a particular sex.” 34 C.F.R. § 106.3(a)-(b). The

regulations further mandate that every applicant for and recipient of federal funding from the

Department assure that the applicant or recipient’s education program or activity will comply

with the Title IX regulations, and that such assurance “shall not be satisfactory to the Assistant

Secretary” if the applicant or recipient “fails to commit itself to take whatever remedial action is

necessary . . . to eliminate existing discrimination on the basis of sex or to eliminate the effects

of past discrimination whether occurring prior or subsequent to the submission to the Assistant

Secretary of such assurance.” 34 C.F.R. § 106.4(a).



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        35.      The regulations contain other procedural requirements designed to protect

students from discrimination and ensure schools’ compliance with the statute’s anti-

discrimination protections. These include, inter alia, requiring that institutions (a) designate at

least one employee to coordinate Title IX compliance and investigations, 34 C.F.R. § 106.8(a),

(b) establish and publish a grievance procedure for the “prompt and equitable resolution of

student and employee complaints” regarding prohibited discriminatory conduct, id. § 106.8(b),

and (c) implement “specific and continuing steps” to widely disseminate their Title IX anti-

discrimination policies to reach students, parents, applicants for admission, employees,

recruiters, unions, and others, id. § 106.9.

        36.      With respect to the religious exemption contained in 20 U.S.C. § 1681(a)(3), the

Department’s Title IX regulations have, since 1975, permitted religious institutions to claim this

exemption “by submitting in writing to the Assistant Secretary a statement by the highest ranking

official of the institution, identifying the provisions of this part which conflict with a specific

tenet of the religious organization.” 34 C.F.R. § 106.12(b). Following receipt of such a

statement, OCR’s longstanding practice has been to acknowledge the claimed exemptions in

writing, reminding the institution that it remains bound by all other provisions of Title IX for

which no exemption was claimed. The Department posts all religious exemption requests, and

its responses to those requests, on its website.2 Copies of all requests and responses from 1975

to the present are available online. The purpose of this longstanding practice is two-fold: it

(a) follows the statutory mandate to respect religious institutions’ beliefs in the enforcement of

Title IX, and (b) provides notice to prospective and current students and employees of those

institutions that certain Title IX protections may be unavailable to them.


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 U.S. Dep’t of Educ., Off. for Civ. Rts., Other Correspondence,
https://www2.ed.gov/about/offices/list/ocr/correspondence/other.html (last updated May 5, 2020).

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II.        The Department Has Consistently Enforced Title IX’s Protections to Protect
           Victims of Sexual and Gender-Based Harassment from Harm for Decades.

           37.      For many years, the Department has recognized sexual harassment as a form of

sex discrimination that, ignored or inadequately addressed, results in educational harms to

victimized students. In turn, the Department has consistently enforced Title IX to protect

students and others from sexual harassment that impedes or denies access to institutions’

programs or activities. As required by law, the Department has always employed the same

standards for addressing sexual harassment under Title IX as it does for other forms of

discriminatory harassment under Title VI, Section 504, and Title II. Through the Final Rule, the

Department has created an unlawful and unjustifiable schism between its enforcement standards

for sexual harassment and all other forms of prohibited harassment in schools.

           A.       The Department Has Consistently Interpreted Title IX’s Protections Against
                    Sexual Harassment Since At Least 1997.

           38.      The Department articulated its well-settled sexual harassment policies in multiple

guidance documents issued by OCR over the course of two decades.

           39.      In 1997, OCR issued the 1997 Guidance to advise institutions of their obligations

under Title IX to respond to sexual harassment of students and OCR’s standards for investigating

and enforcing schools’ compliance with those obligations. Four years later, in 2001, OCR issued

substantially similar guidance to update and replace the 1997 Guidance. Revised Sexual

Harassment Guidance: Harassment of Students by School Employees, Other Students, or Third

Parties (Jan. 19, 2001)3 (“2001 Revised Guidance”).

           40.      The 1997 Guidance and 2001 Revised Guidance were both issued by the

Department following a public notice and comment process.



3
    Available at https://www2.ed.gov/about/offices/list/ocr/docs/shguide.html.

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       41.     The 2001 Revised Guidance, which remains in effect but will be superseded on

August 14, 2020 by the Final Rule, reiterates the definitions and standards set forth in the 1997

Guidance. The document clarified that OCR’s policies for the administrative enforcement of

Title IX were unaffected by two intervening Supreme Court decisions, Gebser v. Lago Vista

Independent School District, 524 U.S. 274 (1998), and Davis v. Monroe County Board of

Education, 526 U.S. 629 (1999), which only addressed the liability standards for private Title IX

sexual harassment lawsuits seeking monetary damages. 2001 Revised Guidance at i-iv.

       42.     As the Department observed in the 1997 Guidance, OCR’s enforcement of Title

IX revealed “that a significant number of students, both male and female, have experienced

sexual harassment, that sexual harassment can interfere with a student’s academic performance

and emotional and physical well-being, and that preventing and remedying sexual harassment in

schools is essential to ensure nondiscriminatory, safe environments in which students can learn.”

1997 Guidance at 12,034. The Department noted that OCR had “long recognized that sexual

harassment of students engaged in by school employees, other students, or third parties is

covered by Title IX” and that “OCR’s policy and practice is consistent with the Congress’ goal

in enacting Title IX—the elimination of sex-based discrimination in federally assisted education

programs.” Id. The Department added that guidance specific to sexual harassment “is important

because school personnel who understand their obligations under Title IX are in the best position

to prevent harassment and to lessen the harm to students if, despite their best efforts, harassment

occurs.” Id. (emphasis added).

       43.     In the 2001 Revised Guidance, the Department expressly distinguished the

standards OCR applies to investigations and administrative enforcement of its Title IX

regulations from the standards applicable to private suits seeking monetary damages, the latter of



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which were addressed in Gebser and Davis. 2001 Revised Guidance at i. The Department stated

that the 2001 Revised Guidance is, “[i]n most other respects . . . identical to the 1997 Guidance”

and was intended “to serve the same purpose” as the earlier document in providing a framework

for educators to prevent and mitigate the harm of sexual harassment faced by their students. Id.

           44.      The 2001 Revised Guidance explains that the liability standards used in Gebser

and Davis “are limited to private actions for monetary damages” and that those cases “did not

change a school’s obligations to take reasonable steps under Title IX and the regulations to

prevent and eliminate sexual harassment as a condition of its receipt of Federal funding,” a

position, it noted, that was “uniformly agreed” upon by the institutions and individuals who

submitted comments. Id. at ii, iv. In the 2001 Revised Guidance, the Department noted that the

Supreme Court, in Gebser, specifically distinguished its authority to establish liability standards

for private damages suits from the authority of federal agencies, including the Department, to

“promulgate and enforce requirements that effectuate [Title IX’s] nondiscrimination mandate,”

under circumstances that may not give rise to a claim for money damages. Id. at ii.

           45.      In 2006, OCR issued a guidance document, Dear Colleague Letter: Sexual

Harassment Issues (Jan. 25, 2006)4 (“2006 DCL”), “to increase awareness of an important issue

affecting students—sexual harassment—and to remind [schools] of the principles that a school

should use to recognize and effectively respond to the sexual harassment of students.” 2006

DCL. The letter reiterated schools’ “essential” obligation to prevent and remedy sexual

harassment, reaffirming the 2001 Revised Guidance as the operative statement of OCR’s

enforcement policies for sexual harassment, and expressly distinguishing OCR’s administrative

enforcement standards from those applicable to private Title IX damages lawsuits. Id.



4
    Available at https://www2.ed.gov/about/offices/list/ocr/letters/sexhar-2006 html.

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           46.      On October 26, 2010, amid growing national attention to bullying in schools,

OCR issued a Dear Colleague Letter on Harassment and Bullying5 (“2010 DCL”), to clarify

when bullying amounted to discriminatory harassment in violation of Title IX and other civil

rights laws. The letter reminded schools that they have substantially similar obligations to

prevent, investigate, and respond to harassment, regardless of whether the harassment is based on

sex, race, color, national origin, or disability. Id. at 1-4.

           47.      On April 4, 2011, the Department further supplemented its 2001 Revised

Guidance with a Dear Colleague Letter on Sexual Violence6 (“2011 DCL”) to address rising

concerns about pervasive sexual violence in schools. The letter clarified that sexual violence

(including rape, sexual assault, sexual battery, and sexual coercion) is a form of sexual

harassment covered by Title IX and provided schools guidance on responding to sexual violence

faced by their students. 2011 DCL at 1. The letter also noted that about 1 in 5 women and 1 in

16 men were victims of attempted or completed sexual assault in college, and, in just one recent

school year, there were “800 reported incidents of rape and attempted rape and 3,800 reported

incidents of other sexual batteries at public high schools.” Id. at 2.

           48.      The 2011 DCL explained that schools should adhere to the standards and

procedures contained in the 2001 Revised Guidance when addressing incidents of sexual

violence and other forms of sexual harassment, and provided further recommendations to

educational institutions on the proper application of Title IX’s various requirements (e.g.,

publishing nondiscrimination notices, designating a Title IX coordinator, and adopting and

publishing grievance procedures) to complaints of sexual violence. Id. at 2-3.



5
    Available at https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201010.pdf.
6
    Available at https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf.


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           49.      On April 29, 2014, OCR published a supplemental guidance document, Questions

and Answers on Title IX and Sexual Violence7 (“2014 Q&A”), to “further clarify the legal

requirements and guidance articulated in the [2011] DCL and the 2001 Guidance and include

examples of proactive efforts schools can take to prevent sexual violence and remedies schools

may use to end such conduct, prevent is recurrence, and address its effects.” 2014 Q&A at ii.

           50.      The Department withdrew the 2011 DCL and 2014 Q&A in September 2017.

           B.       These Guidance Documents Used the Same Definitions of Key Terms,
                    Including Sexual Harassment, and Set Forth Compliance Standards
                    Consistent with Title IX’s Anti-Discrimination Mandate.

           51.      The Department’s guidance documents issued between 1997 and 2014

consistently (1) defined key terms, including “program or activity” and “sexual harassment,”

(2) explained schools’ obligations under Title IX to respond to and remedy sexual harassment,

(3) articulated when the Department would find an institution to be in violation of those

obligations, and (4) clarified the privacy protections that must be afforded to students during

sexual harassment investigations.

                    1. Definitions of key terms.

                         a. Definition of “education program or activity.”

           52.      Consistent with the statutory definition of “education program or activity”

contained in Title IX, 20 U.S.C. § 1687, and the Department’s Title IX regulations, 34 C.F.R.

§ 106.2(h), the Department has treated “all of [a] school’s operations,” including “all of the

academic, educational, extra-curricular, athletic, and other programs of the school, whether they

take place in the facilities of the school, on a school bus, at a class or training program sponsored




7
    Available at https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf.

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by the school at another location, or elsewhere,” to be subject to Title IX’s requirements. 1997

Guidance at 12,038; 2001 Revised Guidance at 2-3.

                    b. Definition of “sexual harassment.”

        53.     Under the Department’s longstanding enforcement policies, sexual harassment is

defined as “unwelcome conduct of a sexual nature” that “can include unwelcome sexual

advances, requests for sexual favors, and other verbal, nonverbal, or physical conduct of a sexual

nature.” 2001 Revised Guidance at 2. Where the harassment rises to the level that it “den[ies] or

limit[s] . . . the student’s ability to participate in or to receive benefits, services, or opportunities

in the school’s program,” it is a form of sex discrimination prohibited by Title IX. Id. Sexual

harassment can take the form of either (1) quid pro quo harassment, where a teacher or other

school employee conditions a student’s participation in a program or activity on their submission

to unwanted sexual conduct, or (2) hostile environment harassment, defined as unwelcome

conduct of a sexual nature by employees, students, or others that “is sufficiently serious to deny

or limit a student’s ability to participate in or benefit from the school’s program based on sex.”

Id. at 5; see also 1997 Guidance at 12,038.

        54.     OCR has long made clear that “[h]arassment does not have to include intent to

harm, be directed at a specific target, or involve repeated incidents,” 2010 DCL at 2, recognizing

that harassment often includes conduct that creates a hostile environment for many students.

                    c. Definition of “hostile school environment.”

        55.     For purposes of administrative enforcement of Title IX, the Department has found

harassing conduct to be “sufficiently serious” to create a hostile school environment where it is

sufficiently severe, pervasive, or persistent as to interfere with a student’s educational

opportunities. 1997 Guidance at 12,038; 2001 Revised Guidance at v-vi; 2010 DCL at 2; 2011



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DCL at 3. Applying a sliding-scale approach, the Department’s position has been that a single

incident may be sufficiently severe to create a hostile environment without being repetitive or

ongoing in nature, whereas less severe but ongoing or pervasive conduct may also create a

hostile environment depending on the circumstances. 2010 DCL at 2; 2011 DCL at 3.

       56.     OCR has long emphasized that a school’s inquiry into whether sexual harassment

has created a hostile environment should consider the following factors: (a) “[t]he degree to

which the conduct affected one or more students’ education,” (b) “[t]he type, frequency, and

duration of the conduct,” (c) “[t]he identity of and relationship between the alleged harasser and

the subject or subjects of the harassment,” (d) “[t]he number of individuals involved,” (e) “[t]he

age and sex of the alleged harasser and the subject or subjects of the harassment,” (f) “[t]he size

of the school, location of the incidents, and context in which they occurred,” (g) “[o]ther

incidents [of sexual harassment] at the school,” and (h) other “[i]ncidents of gender-based, but

nonsexual harassment” that may, when “combined with incidents of sexual harassment,” be

“sufficiently serious to create a sexually hostile environment.” 2001 Revised Guidance at 5-7.

               2. The Department has consistently required schools to prevent, investigate,
                  address, and remedy the effects of sexual harassment.

       57.     Under the Department’s longstanding Title IX enforcement policies, where a

school has actual or constructive notice of conduct against a student that may constitute sexual

harassment, the school is obligated to take “immediate and appropriate steps” to investigate the

conduct and, where the investigation reveals that harassment has occurred, to “take prompt and

effective steps reasonably calculated to end any harassment, eliminate a hostile environment if

one has been created, and prevent harassment from occurring again.” Id. at 11-13, 15; see also

1997 Guidance at 12,042; 2010 DCL at 2-3; 2011 DCL at 4. Where OCR investigates a

complaint against a school and finds that it has failed to respond to, remedy, and prevent sexual

                                                 21
harassment, it will find the school to be in violation of Title IX and provide it the opportunity to

voluntarily resolve that violation before the Department initiates further enforcement action.

                   a. Notice requirements.

       58.     For harassment against a student by a school employee occurring under the

auspices of the employee’s responsibilities toward students, the school is responsible for taking

corrective action regardless of whether it has actual notice. 2001 Revised Guidance at 10.

       59.     For harassment against a student by another student or other third party, a school

must respond where “a responsible employee ‘knew, or in the exercise of reasonable care, should

have known’ about the harassing conduct.” Id. at 13; 1997 Guidance at 12,042; 2010 DCL at 2

n.9; 2011 DCL at 4. A responsible employee is one who “has the authority to take action to

redress the harassment, who has the duty to report to appropriate school officials sexual

harassment, or any other misconduct by students or employees, or an individual who a student

could reasonably believe has this authority or responsibility.” 2001 Revised Guidance at 13.

       60.     The Department has never before required a student to make a complaint to a

specific employee to provide sufficient notice to the institution. Id.; 1997 Guidance at 12,036-

37, 12,042. “A school can receive notice of harassment in many different ways,” including, inter

alia, a formal grievance filed with the school’s Title IX coordinator, a complaint by a targeted

student made to a teacher or other responsible employee, an incident directly witnessed by a

school employee, media reports, or other means. 2001 Revised Guidance at 13.

                   b. Investigation and grievance procedure requirements.

       61.     Under current policy, once an educational institution has actual or constructive

notice of conduct constituting sexual harassment, it “should take immediate and appropriate

steps to investigate or otherwise determine what occurred.” Id. at 15; see also 1997 Guidance at



                                                 22
12,042; 2010 DCL at 2. The investigation must be “prompt, thorough, and impartial,” but “[t]he

specific steps in an investigation will vary depending upon the nature of the allegations, the

source of the complaint, the age of the student or students involved, the size and administrative

structure of the school, and other factors.” 2001 Revised Guidance at 15; see also 1997

Guidance at 12,042; 2010 DCL at 2; 2011 DCL at 4-5.

       62.     Even if an individual incident would not, by itself, constitute actionable sexual

harassment, schools’ obligation to investigate all potentially harassing conduct has been

grounded in the Department’s recognition that investigations of individual incidents “could lead

to the discovery of additional incidents that, taken together, may constitute a hostile

environment” to which the school is obligated to respond under Title IX. 2010 DCL at 2.

       63.     OCR has long required schools to investigate harassment that occurred or

originated off-campus to determine whether the effects of that harassment are affecting a

student’s access to a school’s program or activity. For example, an off-campus rape could

impose continuing educational harm on a victim if the student’s assaulter was a teacher or

classmate, or lived in the same dorm. The Department has previously required schools to

investigate such conduct to determine whether it has created a hostile environment within its

education program. See 2011 DCL at 4; 2014 Q&A at 29.

       64.     The Department has authorized schools to take immediate measures to protect a

student experiencing harassment during the pendency of an investigation, including separating

the targeted student from the alleged harasser in classes or housing, providing counseling to the

targeted student or alleged harasser, or disciplining the alleged harasser. 2001 Revised Guidance

at 16; 1997 Guidance at 12,043; 2010 DCL at 3. OCR has warned that such measures “should

not penalize the student who was harassed” and that “any separation of the target from an alleged



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harasser should be designed to minimize the burden on the target’s educational program (e.g.,

not requiring the target to change his or her class schedule).” 2010 DCL at 3.

       65.     Pursuant to the requirement in the Department’s Title IX regulations that

institutions “adopt and publish grievance procedures providing for prompt and equitable

resolution of student and employee complaints alleging any action which would be prohibited by

[the regulations],” 34 C.F.R. § 106.8(b), the Department has traditionally afforded institutions a

great degree of flexibility in developing effective grievance procedures based on the types of

conduct at issue and school-specific considerations. In its various sexual harassment guidance

documents, the Department has long cautioned against a one-size-fits-all approach to grievance

procedures since factors including “differences in audiences, school sizes and administrative

structures, State or local legal requirements, and past experience” should inform the “detail,

specificity, and components” of grievance processes used by individual schools. 2001 Revised

Guidance at 20; see also 2011 DCL at 9; 1997 Guidance at 12,045. For example, whether a

complaint resolution process is completed in a timely manner depends “on the complexity of the

investigation and the severity and extent of the harassment.” 2001 Revised Guidance at 20.

       66.     Under longstanding policy, OCR considers six factors in determining whether a

school’s grievance process is prompt and equitable, including whether (a) notice of the school’s

grievance procedures has been given to students, parents, and employees; (b) those procedures

have been applied to complaints alleging harassment; (c) complaints have been investigated in an

“[a]dequate, reliable, and impartial” manner, including providing the opportunity to present

witnesses and other evidence; (d) the school has designated and followed “reasonably prompt

timeframes for the major stages of the complaint process;” (e) the school provides notice to the

parties of the outcome of the complaint; and (f) the school has provided “[a]n assurance that [it]



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will take steps to prevent recurrence of any harassment and to correct its discriminatory effects

on the complainant and others, if appropriate.” Id.

       67.     The 2011 DCL and the 2014 Q&A provided greater detail to schools on how they

should meet these requirements in the context of investigating alleged sexual harassment,

including sexual violence. 2011 DCL at 8-14; 2014 Q&A at 9-14, 24-38. In the 2011 DCL, the

Department emphasized that schools should provide comparable procedural rights to

complainants and alleged harassers, and articulated the Department’s position that schools “must

use a preponderance of the evidence standard (i.e., it is more likely than not that sexual

harassment or violence occurred),” the same standard of proof that OCR itself uses in resolving

complaints of discrimination under all of the civil rights laws it enforces, including Title IX.

2011 DCL at 11. The Department noted that it would be inconsistent, and therefore inequitable,

to use a higher standard such as a clear and convincing standard used in criminal complaints, for

complaints of sexual harassment but not for other forms of harassment.

       68.     The 2011 DCL reminded institutions that the different standards of proof for a

Title IX investigation as compared to a criminal investigation are warranted by the distinct aims

of these investigations, noting that institutions are required by Title IX to investigate conduct that

may constitute unlawful sexual harassment even where this conduct would not warrant criminal

charges. Id. Thus, the Department noted that a concurrent criminal inquiry does not relieve an

institution of its responsibility to promptly investigate and address sexual harassment. Id.

       69.     In the 2014 Q&A, the Department also reminded institutions that equity requires

them to make accommodations for students with disabilities to ensure those students’ equal

access to the grievance process. 2014 Q&A at 7. These accommodations may include




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“providing electronically-accessible versions of paper forms to individuals with print disabilities,

or by providing a sign language interpreter to a deaf individual attending a training.” Id.

                   c. Corrective measures.

       70.     Where a school’s inquiry or investigation reveals that harassment occurred, the

school must “take prompt and effective steps reasonably calculated to end any harassment,

eliminate a hostile environment if one has been created, and prevent harassment from occurring

again.” 2001 Revised Guidance at 11-13, 15; see also 2010 DCL at 2-3; 2011 DCL at 4. The

Department has required these remedial steps to be taken regardless of whether the student or

students targeted for harassment made a formal complaint to the institution. 2001 Revised

Guidance at 15-16; 1997 Guidance at 12,042.

       71.     Recognizing that school personnel knowledgeable of Title IX’s requirements “are

in the best position to prevent harassment and to lessen the harm to students” when harassment

occurs, the Department has traditionally afforded schools flexibility in fashioning remedies to

stop, prevent, and cure the effects of harassment on a student or the broader school community.

2001 Revised Guidance at ii; 1997 Guidance at 12,034.

       72.     Depending on the context, appropriate remedial measures may include, inter alia,

actions specific to the individual students involved (which may, but need not, include discipline

of the harasser), trainings for students and staff, modifications of school policies and practices,

and steps to prevent retaliation. 2010 DCL at 3.

                   d. Confidentiality and privacy protections.

       73.     The Family Educational Rights and Privacy Act, 20 U.S.C. § 1232g (“FERPA”),

generally forbids disclosure of a student’s education record without the consent of the student or,

for minors, the student’s parent.



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       74.     Recognizing potential tensions between schools’ FERPA obligations and their

Title IX obligations to effectively investigate and respond to sexual harassment, the Department,

since the 1997 Guidance, has provided guidance to schools on how to avoid unlawful disclosure

of students’ protected information. The 2001 Revised Guidance reaffirmed language from the

1997 Guidance, which advised schools that they are prohibited from releasing information to a

complainant that is contained in another student’s education record unless “(1) the information

directly relates to the complainant (e.g., an order requiring the student harasser not to have

contact with the complainant); or (2) the harassment involves a crime of violence or a sex

offense in a postsecondary institution.” 2001 Revised Guidance at 20 n.102; see also 1997

Guidance at 12,038. The 2001 Revised Guidance explained how schools must balance the

privacy interests of all students against the interest in disclosing sufficient information to conduct

an investigation and notify a complainant of the result. 2001 Revised Guidance at 17-18.

       75.     The 2011 DCL and 2014 Q&A further addressed these issues. 2011 DCL at 5,

13-14; 2014 Q&A at 18-24, 36-37.

                   e. Consistency with other civil rights laws enforced by OCR.

       76.     The Department has always used the same definitions and imposed the same

standards to address sexual harassment under Title IX as it has for race-based harassment under

Title VI and disability-based harassment under Section 504 and Title II.

       77.     In 1994, the Department published a guidance document, Racial Incidents and

Harassment Against Students at Educational Institutions; Investigative Guidance; Notice, 59

Fed. Reg. 11,448 (Mar. 10, 1994) (“1994 Racial Harassment Guidance”), addressing schools’

Title VI obligations to prevent, address, and remedy harassment based on race, color, or national

origin. OCR will find a school to be in violation of Title VI where a school “has created or is



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responsible for a racially hostile environment—i.e., harassing conduct (e.g., physical, verbal,

graphic, or written) that is sufficiently severe, pervasive or persistent so as to interfere with or

limit the ability of an individual to participate in or benefit from the services, activities or

privileges provided by a recipient,” including where a school “has effectively caused,

encouraged, accepted, tolerated or failed to correct a racially hostile environment of which it has

actual or constructive notice,” regardless of whether the harasser is a school employee or another

party. 1994 Racial Harassment Guidance at 11,449. This is the same standard the Department

has imposed for Title IX sexual and gender-based harassment cases for many years.

        78.     As with its sexual harassment guidance documents, the Department emphasized

in the 1994 Racial Harassment Guidance that whether a hostile environment exists “must be

determined from the totality of the circumstances,” considering factors including the nature,

scope, frequency, duration, and location of the harassing conduct, as well as the identity, number,

and relationship of the persons involved. Id. The guidance, also mirroring the Department’s

longstanding approach to sexual harassment, stated that the overall severity, persistence, or

pervasiveness must be weighed, and that “[g]enerally, the severity of the incidents needed to

establish a racially hostile environment under title VI varies inversely with their pervasiveness or

persistence.” Id. As with sexual harassment under the 2001 Revised Guidance, the 1994 Racial

Harassment Guidance provides that where racial harassment exists, a school “has a legal duty to

take reasonable steps to eliminate it” and that the “appropriate response . . . must be tailored to

redress fully the specific problems experienced at the institution as a result of the harassment”

and “be reasonably calculated to prevent its recurrence.” Id. at 11,453, 11,450.




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           79.      As conveyed in OCR’s July 25, 2000 Dear Colleague Letter on Prohibited

Disability Harassment8 (“2000 DCL”) which remains in force, OCR follows substantially similar

standards for disability-based harassment that may violate Section 504 or Title II as it does for

sexual harassment under Title IX and racial harassment under Title VI. See 2000 DCL.

           80.      The 2010 DCL clarified that the Department follows the same standards for

discriminatory harassment under all the laws it enforces, and that these guidance documents are

still operative for harassment violative of Title VI, Section 504, and Title II. 2010 DCL at 1-4.

           81.      As required by the CRRA, the Department’s implementing regulations for Title

IX, Title VI, and Section 504 use a common definition of covered “program or activity.” See 20

U.S.C. § 1687 (Title IX); 34 C.F.R. § 100.13(g) (Title VI); 34 C.F.R. § 104.3(k) (Section 504);

see also 1994 Racial Harassment Guidance at 11,448; 2000 DCL.

III.       The Final Rule Sharply Departs from the Department’s Well-Established Policies,
           Undermining Protections for Harassed Students and Abdicating the Department’s
           Essential Role in Eliminating Sexual Harassment in Schools.

           A.       The Department’s Efforts to Downplay Sexual Harassment and Weaken
                    Existing Title IX Protections.

           82.      Since 2017, Defendants have engaged in an ongoing campaign to roll back Title

IX’s protections against sexual assault, including sexual violence, particularly in the context of

higher education. Turning away from decades of well-established enforcement policies, the

Department has taken a number of steps to strip existing legal protections for survivors of

campus sexual assault and to minimize the Department’s role in enforcing Title IX on behalf of

students who experience such harassment—up to and including its issuance of the Final Rule.

           83.      After Secretary DeVos was confirmed to her cabinet position on February 7,

2017, she swiftly oversaw the Department’s dismantling of existing Title IX protections against


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    Available at https://www2.ed.gov/about/offices/list/ocr/docs/disabharassltr.html.

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sexual harassment. On April 12, 2017, Secretary DeVos named Candice Jackson, a vocal critic

of the previous administration’s Title IX policies, as the Deputy Assistant Secretary and Acting

Assistant Secretary of Civil Rights, in which capacity she led OCR until July 2018.

        84.      After assuming their roles, both Secretary DeVos and Ms. Jackson publicly

criticized the Department’s Title IX policies and characterized most campus sexual assaults as a

non-issue. Jackson publicly belittled student survivors of sexual assault, contending that “90

percent of [their complaints] — fall into the category of ‘we were both drunk,’ ‘we broke up, and

six months later I found myself under a Title IX investigation because she just decided that our

last sleeping together was not quite right.’”9

        85.      Echoing this sentiment, Secretary DeVos, in September 2017, gave public

remarks in which she criticized OCR’s “incredibly broad definitions” of sexual harassment,

opining that “if everything is harassment, then nothing is.” U.S. Dep’t of Educ., Secretary

DeVos Prepared Remarks on Title IX Enforcement (Sept. 7, 2017).10 In her remarks, the

Secretary focused on the rights of students accused of sexual harassment, stating that “[t]he

notion that a school must diminish due process rights [of alleged harassers] to better serve the

‘victim’ only creates more victims.” Id. Taking a swipe at the settled principle that sexual

harassment victims should not bear the brunt of interim remedies to protect their access to

educational opportunities, the Secretary said measures like changing class schedules or housing

assignments should not “punish the accused” during the investigation and grievance process. Id.

        86.      The Secretary further asserted that “the prior administration weaponized the

Office for Civil Rights to work against schools and against students” and went so far as to


9
  Erica L. Green et al., Campus Rape Policies Get a New Look as the Accused Get DeVos’s Ear, N.Y. Times (July
12, 2017), https://www nytimes.com/2017/07/12/us/politics/campus-rape-betsy-devos-title-iv-education-trump-
candice-jackson.html.
10
   Available at https://www.ed.gov/news/speeches/secretary-devos-prepared-remarks-title-ix-enforcement.

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describe the then-current sexual harassment guidance to schools as “un-American.” Id. She

contended that “any school that uses a system biased toward finding a student responsible for

sexual misconduct also commits discrimination.” Id. Remarking that “[s]tudents, families, and

school administrators are generally not lawyers and they’re not judges [and] [w]e shouldn’t force

them to be so for justice to be served,” the Secretary criticized the “quasi-legal structures”

schools used to fulfill their Title IX obligations to fairly resolve sexual harassment complaints,

dismissively calling them “kangaroo courts.” Id.

           87.      Against this backdrop, on September 22, 2017, OCR issued a Dear Colleague

Letter on Campus Sexual Misconduct11 (“2017 DCL”) and an accompanying document, entitled

Q&A on Campus Sexual Misconduct.12 The 2017 DCL announced that the Department was

rescinding both the 2011 DCL and 2014 Q&A. The letter asserted, without providing any

evidentiary support, that the 2011 DCL and 2014 Q&A had “not succeeded in providing clarity

for educational institutions or in leading institutions to guarantee educational opportunities on the

equal basis that Title IX requires.” 2017 DCL at 2. The 2017 DCL, signed by Acting Assistant

Secretary Jackson, pertained specifically to “campus sexual misconduct” and did not mention or

address other forms of sexual harassment or sex discrimination in schools. Id. at 1-2.

           88.      The 2017 DCL noted that the Department intended to continue to rely on the 2001

Revised Guidance and the “reaffirmation” of that guidance in the 2006 DCL. Id. at 2. The letter

did not mention the 2010 DCL, nor has the Department withdrawn that document.

           B.       The Department Promulgated the Proposed Rule Shortly After Rescinding
                    OCR’s 2011 and 2014 Guidance Documents.

           89.      On November 29, 2018, the Department promulgated the Proposed Rule.



11
     Available at https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf.
12
     Available at https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf.

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       90.     The Proposed Rule contained significant revisions and amendments to the

Department’s longstanding Title IX regulations, including proposing unjustified redefinitions of

key terms; relaxing schools’ obligations to investigate, address, and remedy sexual harassment;

imposing onerous, prescriptive, quasi-judicial procedural requirements that schools must follow

in investigating and handling complaints; and largely erasing schools’ obligation to remedy the

effects of sexual harassment both for targeted students and their broader school communities.

The proposed procedural requirements curtailed schools’ previous flexibility and discretion in

tailoring grievance procedures for sexual harassment complaints to local circumstances.

       91.     The detailed new grievance procedures in the Proposed Rule, which focused on

the subset of sexual harassment complaints by individual complainants against individual

respondents, afforded stronger rights to accused students than those to students targeted for

discriminatory harassment, for the first time in the Department’s history of enforcing Title IX.

Id. at 61,471-80. These changes included—without legal support or justification—giving

respondents the right to file sex discrimination complaints against their schools with OCR based

on alleged violations of the mandatory grievance procedures, even where such violations were

not based on sex. Id. at 61,497.

       92.     The Proposed Rule did not contain any language preempting schools’ application

of stronger state or local protections against sexual harassment. To the contrary, the Proposed

Rule “emphasize[d] that when determining how to respond to sexual harassment, recipients have

flexibility to employ age-appropriate methods, exercise common sense and good judgment, and

take into account the needs of the parties involved” and averred that the proposed grievance

procedures were intended to provide “recognition that a recipient needs flexibility to employ

grievance procedures that work best for the recipient’s educational environment.” Proposed



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Rule at 61,468, 61,472. The Proposed Rule did not suggest that schools would be constrained

from applying stronger protections under state or local law, or their own codes of conduct.

       93.     In assessing the likely costs of the Proposed Rule, the Department failed to

include or account for the substantial monetary and nonmonetary costs of the Proposed Rule,

including the costs of an increase in sexual harassment and violence, and various legal and

compliance costs education institutions would be forced to incur.

       94.     During the notice and comment period, the Department received more than

124,000 comments on the Proposed Rule, see Final Rule at 30,044, many of which vigorously

opposed the core aspects of the proposed regulatory changes.

       95.     Both the State and the NYCDOE opposed the Proposed Rule, identifying many of

the unreasonable, unworkable, and unlawful provisions that remain in the Final Rule and are the

subject of this challenge. SUNY, NYSED, other public and private higher educational

institutions in the State, public school districts, and other stakeholders submitted comments in

opposition to the Proposed Rule. Eighteen other states and the District of Columbia also

opposed the Proposed Rule. Comments in opposition were also submitted by advocacy groups

for women and girls, LGBTQ people, and sexual assault survivors, among others; mental health

professionals; and associations representing school administrators and educational institutions

across the country.

       96.     On March 27, 2020, in a letter to Secretary DeVos, 17 states and the District of

Columbia urged the Department to suspend the rulemaking process for the Proposed Rule while

the “nation’s educational institutions respond to the national emergency caused by the novel

coronavirus (COVID-19) and until both K-12 schools and institutions of higher education

resume normal operations.” The letter noted that over 93 percent of all elementary and



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secondary schools, and more than 1,140 colleges and universities had closed or were in the

process of closing in response to this extraordinary national public health emergency. The letter

explained that the burdens the Proposed Rule would place on schools, if finalized, “would be

untenable and ultimately counterproductive to student safety” in light of this unprecedented

pandemic. Specifically, “[d]uring this crisis, schools will need the flexibility to fashion and

revise investigation, resolution, and grievance procedures on an ongoing basis, in order to carry

out Title IX’s mandate in the manner that best addresses the impact of the pandemic and the

needs of their school populations and communities,” and some of the new legal obligations in the

Proposed Rule “would be both impossible and unsafe” for institutions to implement.

        C.       The Final Rule.

        97.      The Department publicly released the text of the Final Rule on May 6, 2020, in a

document exceeding 2,000 pages,13 and published the 554-page Final Rule in the Federal

Register on May 19, 2020. Final Rule at 30,026-579.

        98.      The Final Rule is scheduled to take effect on August 14, 2020. Id. at 30,026.

        99.      The Final Rule amends regulations implementing Title IX of the Education

Amendments of 1972. Specifically, it (a) amends 34 C.F.R. § 106.3’s remedial requirements;

(b) amends 34 C.F.R. § 106.6 to, inter alia, add a preemption clause that was not part of the

Proposed Rule; (c) significantly changes the provisions governing Title IX coordinators and

schools’ obligation to broadly disseminate their nondiscrimination policies under the former 34

C.F.R. §§ 106.8 and 106.9; (d) alters the procedure for religiously-controlled schools to seek

exemptions under 34 C.F.R. § 106.12; (e) adds a host of new definitions applicable only to

sexual harassment in the new 34 C.F.R. § 106.30; (f) drastically alters schools’ obligations to


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  U.S. Dep’t of Educ., Title IX Regulations Addressing Sexual Harassment (Unofficial Copy) (May 6, 2020),
https://www2.ed.gov/about/offices/list/ocr/docs/titleix-regs-unofficial.pdf.

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respond to sexual harassment in the new 34 C.F.R. § 106.44; (g) adds a lengthy set of grievance

procedures that schools must follow for sexual harassment complaints in the new 34 C.F.R.

§ 106.45; and (h) adds a retaliation provision in the new 34 C.F.R. § 106.71.

       100.    The Final Rule’s stated purpose is to “better align the Department’s Title IX

regulations with the text and purpose of Title IX, the U.S. Constitution, Supreme Court precedent

and other case law, and to address the practical challenges facing students, employees, and

recipients with respect to sexual harassment allegations.” Id. at 30,030.

       101.    The Final Rule purports to accomplish these goals by (1) redefining “sexual

harassment” and other key terms, at odds with longstanding definitions used by the Department

in enforcing Title IX and other civil rights laws; (2) narrowly limiting when and how a recipient

must respond to sexual harassment, and preempting schools from following more expansive

protections under conflicting codes of conduct or state or local law; (3) imposing extensive new,

prescriptive procedural requirements on all schools and students, and creating new rights for

accused students that are not designed to prevent or address sex discrimination, exceeding the

Department’s authority under Title IX; (4) removing critical notice requirements for prospective

and current students and employees; (5) ignoring compliance with contrary federal law; and (6)

failing to acknowledge and quantify widespread harms and costs to covered institutions, their

students, and the broader public.

       102.    The Final Rule does not refute or alter the Department’s central factual findings

undergirding its longstanding Title IX policies on sexual harassment, including that sexual

harassment in schools is common, can interfere with students’ ability to learn and their overall

well-being, and that “preventing and remedying sexual harassment in schools is essential to

ensure nondiscriminatory, safe environments in which students can learn.” See 1997 Guidance



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at 12,034. To the contrary, the Department cited data illustrating the continued prevalence of

sexual harassment in schools and the adverse impacts on students who experience harassment.

Final Rule at 30,075-81. The Department fails to justify how the drastic changes to its Title IX

policies are consistent with these findings.

       103.    Indeed, the Department concedes that the redefinition of “sexual harassment” was

not required by Gebser or Davis. Id. at 30,033. It fails to adequately explain or justify how, in

the administrative enforcement context, the “text and purpose” of Title IX in protecting students

from sex discrimination would be furthered by these changes that effectively reduce protections

for students experiencing sexual harassment and make it harder for their schools to respond to it.

The Department also wholly ignores the fact that there is no evidence suggesting that any

burdens faced by accused students in defending against sexual harassment allegations is based

on sex, such that the Department lacks the authority to create new enforceable rights for the

accused as a form of sex discrimination under Title IX.

               1. The Final Rule redefines key terms without adequate justification.

                   a. Redefinition of “education program or activity.”

       104.    The Final Rule unlawfully and arbitrarily restricts a school’s response to “sexual

harassment in an education program or activity of the recipient against a person in the United

States.” Final Rule at 30,574-75 (§ 106.44(a)) (emphasis added).

       105.    The Final Rule defines “education program or activity,” exclusively with respect

to sexual harassment and not to other forms of conduct prohibited under Title IX, as those

“locations, events, or circumstances over which the recipient exercised substantial control over

both the respondent and the context in which the sexual harassment occurs, and also includes any

building owned or controlled by a student organization that is officially recognized by a



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postsecondary institution.” Id. The Final Rule requires institutions to dismiss complaints with

regard to conduct that “did not occur in the recipient’s education program or activity, or did not

occur against a person in the United States.” Id. at 30,576 (§ 106.45(b)(3)).

         106.     The Final Rule’s confusing redefinition effectively demands that students who

experience sexual harassment, before seeking relief from their schools, ascertain the degree of

their school control over campus events, student groups, and buildings to determine whether

Title IX protections apply. It also wholly disregards schools’ statutory obligation to address

harassment, wherever it occurred, that has the effect of limiting or denying a student’s access to

education programs and activities. The Department has also failed to justify this geographic

limitation in light of its practice of applying civil rights statutes, including Title VI, outside of the

United States in appropriate circumstances.14

         107.     The Final Rule’s restrictions conflict with Title IX’s statutory language, which

does not depend on where the underlying conduct occurred, but instead prohibits discrimination

based on its effects on a student’s educational opportunities. 20 U.S.C § 1681(a). Moreover, the

text of Title IX provides that the term “program or activity” and “program” mean “all of the

operations of” a covered entity. Id. § 1687 (emphasis added). This definition was required by

the CRRA, which adopted a uniform, expansive definition of “program or activity” for Title IX,

Title VI, and Section 504. See 20 U.S.C. § 1687 (Title IX); 34 C.F.R. § 100.13(g) (Title VI); 34

C.F.R. § 104.3(k) (Section 504); see also 1994 Racial Harassment Guidance at 11,448; 2000

DCL.

         108.     The Final Rule’s redefinition of “program or activity” applies only to conduct that

constitutes sexual harassment under the Final Rule’s new, narrow definition of that term. The


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  See, e.g., U.S. Dep’t of Justice, Title VI Legal Manual (Updated), § V, at 4 (2016) (describing the circumstances
in which Title VI applies to discriminatory conduct outside the United States).

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existing definition will continue to apply to other forms of sex-based discrimination, including,

perhaps, gender-based harassment that is not sexual in nature. The Final Rule’s redefinition of

“program or activity” thus creates arbitrary and unlawful limitations on the Department’s

enforcement powers and schools’ obligations to respond to sexual harassment, as compared to all

other forms of discrimination, including harassment.

       109.    The Final Rule’s definition will lead to confusion for schools and students over

whether students facing sexual harassment can seek relief from their schools. For example, the

Final Rule likely bars American universities from offering Title IX protections to students in

university-sponsored study abroad programs. Likewise, students undergoing remote learning

due to the COVID-19 pandemic who experience sexual harassment by peers, teachers, or others

online, or harassment at home that impedes their ability to attend classes, must guess whether

this conduct falls under the Final Rule’s definition of “program or activity.” The Final Rule is, at

best, ambiguous on these questions. The Department fails to sufficiently explain how these

results comport with agency interpretation and the anti-discrimination purposes of Title IX.

       110.    Further, the Department’s decision to limit the scope of proscribed conduct under

Title IX based on location is arbitrary when Congress, under the Jeanne Clery Disclosure of

Campus Security Policy and Campus Crime Statistics Act, 20 U.S.C. § 1902(f) (“Clery Act”),

requires reporting of information regarding crimes occurring on “[p]ublic property . . .

immediately adjacent to and accessible from the campus” to current and prospective students,

since it is relevant to understand how crimes impact the campus learning environment. 20

U.S.C. § 1902(f). It is illogical to require institutions to report off-campus conduct to current and

prospective students if, as the Final Rule unreasonably assumes, that same conduct could never

affect a student’s access to the education program or activity.



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                   b. Redefinition of “sexual harassment.”

       111.    The Final Rule redefines sexual harassment as “conduct on the basis of sex that

satisfies one or more of the following: (1) An employee of the recipient conditioning the

provision of an aid, benefit, or service of the recipient on an individual’s participation in

unwelcome sexual conduct; (2) Unwelcome conduct determined by a reasonable person to be so

severe, pervasive, and objectively offensive that it effectively denies a person equal access to the

recipient’s education program or activity; or (3) ‘Sexual assault’ as defined in [the Clery Act,] 20

U.S.C. 1092(f)(6)(A)(v), ‘dating violence’ as defined in [the Violence Against Women Act

(“VAWA”),] 34 U.S.C. 12291(a)(10), ‘domestic violence’ as defined in 34 U.S.C. 12291(a)(8),

or ‘stalking’ as defined in 34 U.S.C. 12291(a)(30).” Final Rule at 30,574 (§ 106.30(a)). Schools

must dismiss complaints that do not meet this new definition. Id. at 30,576 (§ 106.45(b)(3)).

       112.    The Department’s new definition of sexual harassment is a dramatic departure

from longstanding Department practice, and will greatly limit the range of covered conduct.

       113.    First, this definition restricts schools’ obligation under the Title IX regulations to

prevent and respond to harassing conduct by requiring that sexual harassment be severe,

pervasive, and “objectively offensive” before a school can respond. Id. at 30,574 (§ 106.30).

       114.    By contrast, the Department previously defined sexual harassment as unwelcome

conduct of a sexual nature that “is sufficiently severe, persistent, or pervasive to limit a student’s

ability to participate in or benefit from an education program or activity.” 1997 Guidance at

12,038 (emphasis added). Thus, even “a single or isolated incident of sexual harassment may, if

sufficiently severe, create a hostile environment,” and less severe, pervasive conduct that created

a hostile environment was also considered to be harassment prohibited by Title IX. 2001

Revised Guidance at 5-9.



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       115.    Under the Department’s new definition, a single, severe, objectively offensive

incident of sexual harassment may now be excluded from protection under the amended Title IX

regulations (unless such conduct met the Clery Act or VAWA definitions incorporated into the

definition), and persistent or pervasive conduct that limits a student’s access to a school’s

education program or activity will almost certainly be unprotected.

       116.    Second, the requirement that the unwelcome sexual conduct “effectively denies a

person equal access” to educational opportunities in order to be subject to Title IX coverage runs

counter to the plain language of Title IX, which broadly protects all students from any conduct

on the basis of sex that has the effect of excluding the student from participation in, being denied

the benefits of, or being subjected to discrimination under a school’s education program or

activity. Title IX is violated not just when an individual is “effectively denie[d] equal access” to

an education program or activity, but also when conduct impairs or limits that individual’s ability

to enjoy the benefits and services of that program or activity.

       117.    Consistent with schools’ affirmative obligation under Title IX and the

longstanding regulations to affirmatively prevent discriminatory harassment and address hostile

school environments resulting from such harassment, schools have always been obligated to

investigate all potentially harassing conduct that may limit or deny educational opportunities to a

student. Now, under the Final Rule, a school will have no obligation to respond to harassment

until it has already affected one or more students’ access to education. As such, students will

now have to wait until the harassment they face severely and significantly affects their access to

education before their schools are required—or even permitted—to act.

       118.    Third, although the Final Rule (like the Proposed Rule) purports only to apply to

sexual harassment, including by adding new definitions and procedures applicable only to sexual



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harassment, Final Rule at 30,574-78 (§§ 106.30, 106.44, 106.45), the preamble to the Final Rule

suggests that schools will also have to apply the Final Rule’s new grievance procedures to other

forms of “non-sexual harassment sex discrimination.” Id. at 30,095; see also Proposed Rule at

61,462. Because the Final Rule itself does not say this—and, in fact, uses language specific to

“sexual harassment”—schools will have to grapple with this ambiguity and whether and when to

apply the new provisions to other forms of sex discrimination experienced by their students.

        119.    Fourth, the new definition of harassment is also inconsistent with the definitions

of harassment used by the Department in enforcing like protections against harassment based on

race, color, national origin, and disability under Title VI, Section 504, and Title II. As the

Department’s enforcement policies for those laws remain unchanged, the Final Rule effectively

establishes a separate, weaker enforcement standard for sexual harassment relative to all other

forms of discriminatory harassment.

        120.    Fifth, the Final Rule’s definition ignores the uniformity with which sexual

harassment has long been defined under both Title IX and Title VII with respect to employees of

educational institutions (including faculty, staff, and student employees). Under Title VII, sexual

harassment is actionable when the harassment is sufficiently severe or pervasive to alter the

conditions of the victim’s employment.15 The EEOC, in administratively enforcing Title VII,

recognizes that hostile environment sexual harassment can result from “unusually severe”

isolated incidents and gender-based harassment of a non-sexual nature that is sufficiently severe

or pervasive.16 Until the promulgation of the Final Rule, employees of covered institutions




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   See Meritor Savings Bank, FSB v. Vinson, 477 U.S. 57, 64 (1986) (emphasis added); U.S. Equal Emp’t
Opportunity Comm’n, Policy Guidance on Current Issues of Sexual Harassment (Mar. 19, 1990),
https://www.eeoc.gov/laws/guidance/policy-guidance-current-issues-sexual-harassment (“EEOC Guidance”).
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   See EEOC Guidance.

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enjoyed consistent, parallel protections under both laws. Now, a student may be forced to endure

worse sexual harassment than the student’s teachers before the school is required to respond.

       121.    Finally, the Final Rule’s redefinition of sexual harassment may prevent

institutions from providing meaningful redress for a variety of unwelcome sexual conduct, in

direct contravention to Title IX’s mandate that requires institutions to prevent, address, and

remedy the effects of such conduct on a student’s educational access. The Final Rule fails to

offer sufficient justification for the many harms that will result from this stark redefinition.

                   c. Elimination of references to hostile school environment.

       122.    The Final Rule strips all references in the Title IX regulations to schools’

obligations to address hostile school environments resulting from sexual harassment, including

amending 34 C.F.R. § 106.3 to strike a requirement that institutions take remedial actions OCR

deems necessary to “overcome the effects of [sex-based] discrimination.” Indeed, in contrast to

all of the Department’s earlier guidance documents on sexual harassment and other forms of

harassment, the terms “hostile environment” and “hostile climate” will be completely absent

from the amended Title IX regulations after the Final Rule becomes effective.

       123.    The Final Rule’s sole focus on responding to harassment against one individual

by another individual ignores the cardinal principle that “[h]arassment does not have to include

intent to harm, be directed at a specific target, or involve repeated incidents,” 2010 DCL at 2, to

create a hostile environment.

               2. The Final Rule arbitrarily and unlawfully limits when a recipient must
                  respond to conduct in violation of Title IX.

       124.    Contrary to the text and purpose of Title IX, the Final Rule drastically limits

schools’ obligations to respond to sexual harassment that impermissibly and arbitrarily restricts

what conduct a recipient may respond to under Title IX. The Department fails to adequately

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explain the sea change from decades of longstanding and consistent enforcement policy, as

reflected in OCR’s various guidance documents on sexual harassment, and ignores how these

new enforcement standards will frustrate, and effectively preclude, the ability of institutions to

combat and eliminate sex discrimination in education.

                    a. The “actual knowledge” definition impermissibly allows institutions to
                       avoid responding to known incidents of sexual harassment.

       125.    The Final Rule defines “actual knowledge” as “notice of sexual harassment or

allegations of sexual harassment to a recipient’s Title IX Coordinator or any official of the

recipient who has authority to institute corrective measures on behalf of the recipient, or to any

employee of an elementary and secondary school.” Final Rule at 30,574 (§ 106.30(a)). The

Final Rule states that “[i]mputation of knowledge based solely on vicarious liability or

constructive notice is insufficient to constitute actual knowledge,” and that the “mere ability or

obligation to report sexual harassment or to inform a student about how to report sexual

harassment, or having been trained to do so, does not qualify an individual as one who has

authority to institute corrective measures on behalf of the recipient.” Id. The Final Rule limits a

recipient’s obligation to respond to sexual harassment to instances of which the recipient has

“actual knowledge.” Id. at 30,574-75 (§ 106.44(a)).

       126.    Previously, schools were required to respond to sexual harassment whenever an

employee with authority to respond to the harassment, knew, or in the exercise of reasonable

care, should have known about the harassing conduct. 1997 Guidance at 12,042; 2001 Revised

Guidance at 13; 2010 DCL at 2 n.9; 2011 DCL at 4.

       127.    The Department’s definition and circumscription of an institution’s obligation to

respond to allegations of which it has actual knowledge renounces this standard, which made

clear that institutions had to respond to all sexually harassing conduct where the institution knew

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or reasonably should have known about it. See 1997 Guidance at 12,042; 2001 Revised

Guidance at 13; 2011 DCL at 4.

       128.    The Final Rule fails to justify its new standard, particularly in light of the reality

that students are most likely to disclose sexual assault and harassment to trusted sources, such as

a residential advisor, guidance counselor, or professor. Instead, the Final Rule now authorizes

institutions to do nothing—even where dozens of employees who can take action or report to

appropriate officials have actual knowledge of harassment—so long as the Title IX Coordinator

or high-ranking university official can disclaim actual knowledge. The Department offers no

reasonable explanation for these added hurdles for complainants at the university level.

       129.    The Final Rule arbitrarily imposes different definitions of actual knowledge in K-

12 institutions and post-secondary institutions, with no explanation for why university students

should face added barriers in order to trigger an institutional response to sexual harassment.

       130.    The Final Rule’s reliance on the Supreme Court’s decisions in Gebser and Davis

are misplaced, as these decisions only addressed the liability standard for private Title IX

lawsuits seeking monetary damages, and specifically distinguished monetary liability standards

from those federal agencies can apply in the administrative enforcement context. As the

Supreme Court explicitly noted in Gebser, “[t]he Department of Education could enforce the

requirement administratively: Agencies generally have authority to promulgate and enforce

requirements that effectuate the statute’s nondiscrimination mandate.” 524 U.S. at 292. Indeed,

the Department issued the 2001 Revised Guidance after those decisions, to affirm that these

cases “did not change a school’s obligations to take reasonable steps under Title IX and the

regulations to prevent and eliminate sexual harassment as a condition of its receipt of Federal

funding.” 2001 Revised Guidance at ii.



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       131.      The Final Rule offers no explanation for the Department’s about-face from its

position that Gebser and Davis had no bearing on OCR’s administrative enforcement of Title IX.

                    b. The definitions of “complainant” and “formal complaint” impose undue
                       restrictions on schools’ ability to respond to sexual harassment.

       132.      The Final Rule defines “complainant,” for purposes of sexual harassment claims

only, as “an individual who is alleged to be the victim of conduct that could constitute sexual

harassment.” Final Rule at 30,574 (§ 106.30). The Department’s Title IX regulations do not

otherwise define a complainant for any other form of sex-based discrimination. Although the

Final Rule permits any individual to notify a school that sexual harassment is occurring, and for

the Title IX Coordinator to make a formal complaint in lieu of a student targeted for harassment,

the rule confusingly uses the term “complainant” to describe a targeted student even if that

student did not make a formal complaint. See id. at 30,573-74 (§§ 106.8(a), 106.30).

       133.      The Final Rule defines “formal complaint” as “a document filed by a complainant

or signed by the Title IX Coordinator alleging sexual harassment against a respondent and

requesting that the recipient investigate the allegation of sexual harassment.” Id. at 30,574

(§ 106.30(a)).

       134.      The Final Rule newly limits individuals who can file a formal complaint,

providing that “[a]t the time of filing a formal complaint, a complainant must be participating in

or attempting to participate in the education program or activity of the recipient with which the

formal complaint is filed.” Id. By requiring that a formal complaint can only be filed by or on

behalf of a student currently “participating in or attempting to participate in” an education

program or activity at the time of the complaint (as opposed to when the harassment occurred),

the Final Rule unjustifiably forecloses the ability of sexual harassment survivors who withdrew




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from school due to the damaging effects of that harassment from seeking justice from their

schools through the administrative process.

       135.    These narrow, formalistic definitions are not supported by Title IX, which does

not include any limitations on making or receiving complaints. See 20 U.S.C. § 1681. Nor are

they supported by Title IX’s mandate that schools take reasonable steps to prevent and remedy

known sexual harassment and sex discrimination, regardless of how institutions learn about it.

       136.    The Final Rule also fails to consider the limiting effect of the definitions of

“complainant” and “formal complaint,” including that it may chill reporting, and does not offer

sufficient accommodations for individuals with disabilities that may impede their ability to read,

write, or sign a formal complaint, or to otherwise participate in the prescribed grievance process.

                    c. The “deliberate indifference” standard runs counter to Title IX’s
                       mandate and past practice.

       137.    The Final Rule provides that an educational institution with actual knowledge

must respond “in a manner that is not deliberately indifferent.” Final Rule at 30,574

(§ 106.44(a)). An institution is “only” deliberately indifferent “if its response to sexual

harassment is clearly unreasonable in light of the known circumstances.” Id.

       138.    Consistent with Title IX’s mandate that no person “be excluded from participation

in, be denied the benefits of, or be subjected to discrimination” on the basis of sex, 20 U.S.C.

§ 1681(a), the Department has long required schools to act reasonably, promptly, and effectively

in taking steps to end sexual harassment and prevent its recurrence. 34 CFR § 106.31; 1997

Guidance at 12,042; 2001 Revised Guidance at 10; 2010 DCL at 2-3; 2011 DCL at 4.

       139.    In contrast, the Final Rule permits schools to respond ineffectively to sexual

harassment as long as the response is not “clearly unreasonable in light of the known




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circumstances,” Final Rule at 30,574-75 (§ 106.44(a)), even if the response does not stop,

prevent, or redress harassment.

       140.    In an attempt to justify its departure from previous standards, the Department

cites only to decades-old Supreme Court precedent that explicitly limits the liability standards on

which the Department relies to private Title IX lawsuits seeking monetary damages, and which

subsequent Department guidance clarified did not apply to its enforcement of Title IX. The Final

Rule does not point to any instances in which schools were burdened or unfairly penalized by the

existing reasonableness standard, and otherwise fails to justify its departure from this well-

established standard.

               3. The Final Rule’s mandatory and permissive dismissal provisions
                  impermissibly allow for sexual harassment to go unaddressed.

       141.    The Final Rule mandates that “[i]f the conduct alleged in the formal complaint

would not constitute sexual harassment as defined in § 106.30 even if proved, did not occur in

the recipient’s program or activity, or did not occur against a person in the United States, then

the recipient must dismiss the formal complaint with regard to that conduct.” Final Rule at

30,576 (§ 106.45(b)(3)). Accordingly, a school must dismiss a complaint before an investigation

if the allegations, on their face, are not severe, pervasive, and objectively offensive, see id., even

if a reasonable investigation might have revealed that the alleged conduct meets the stringent

standard. Likewise, a school must dismiss a complaint that meets the Final Rule’s definition of

sexual harassment if the conduct occurred outside of the bounds of an educational program or

activity, see id. at 30,574-75 (§ 106.44(a)), or outside the United States, even where the effects of

such harassment harm a student’s ability to participate in that program or activity and are

redressable by the institution.




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       142.    In forcing schools to dismiss complaints that do not meet the narrow, unlawful,

and arbitrary definitions the Final Rule adopts, the Department exceeds its statutory authority by

forcing schools to violate students’ and employees’ civil rights under Title IX. Title IX only

authorizes the Department to issue rules “to effectuate the [anti-discrimination] provision of

[Title IX].” 20 U.S.C. § 1682. Title IX delegates no authority to the Department to limit

schools’ protection of students against discrimination, hamper schools’ ability to enforce their

own procedures to best respond to a wide-variety of conduct subject to disciplinary action, or

afford substantive Title IX rights to individuals (including those accused of misconduct) that are

not themselves facing discrimination on the basis of sex.

       143.    The Final Rule fails to consider practical complications created by the mandatory

dismissal provision. For example, where an institution investigates and dismisses a Title IX

complaint, the institution will have lost critical time and resources before the institution can

begin to investigate whether the conduct alleged also violates its own disciplinary code. The

Final Rule provides little clarity on how institutions should conduct these successive

investigations, or whether parallel investigations under different enforcement regimes can

happen concurrently.

       144.    The Final Rule adds permissive dismissal language not included in the Proposed

Rule, newly allowing institutions to dismiss complaints where “a complainant notifies the Title

IX Coordinator in writing that the complainant would like to withdraw the formal complaint or

any allegations therein; the respondent is no longer enrolled or employed by the recipient; or

specific circumstances prevent the recipient from gathering evidence sufficient to reach a

determination as to the formal complaint or allegations therein,” Final Rule at 30,576 (§




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106.45(b)(3)(ii)), even if a hostile school environment resulting from the harassment at issue

continues to affect a complainant or other students.

       145.    This provision disregards Title IX’s mandate, and calls into question whether

victims of sexual harassment would be afforded Title IX protections in circumstances where

their harassers are no longer on campus. For example, the Final Rule, read literally, would allow

an institution to ignore harassment perpetrated by a graduating senior, where that student would

graduate before the newly-prescribed grievance process could be completed. Similarly, a school

would have no duty to investigate harassment against a student by an alumnus or other campus

visitor who is not enrolled or employed by the school, regardless of the impact of the harassment

on the targeted student or students’ access to the school’s education program or activity. This

provision also fails to define what “specific circumstances” warrant permissive dismissal.

       146.    The Final Rule fails to justify why a vast range of unwelcome sexual conduct is

no longer within the ambit of Title IX’s protections, or to square these new limits with the broad

scope of conduct that the Supreme Court recognizes as covered by Title IX. Nor does the Final

Rule provide evidence that institutional resources were previously inappropriately directed at

resolving claims of sexual harassment under Title IX.

               4. The Final Rule imposes prescriptive new grievance procedures that are
                  designed to protect accused students, not to address and remedy sex
                  discrimination in schools.

       147.    After greatly narrowing the range of conduct subject to Title IX protection, the

Final Rule adds dozens of new procedural requirements that institutions must follow when

investigating complaints. These formalistic, prescriptive and burdensome requirements interfere

with institutional expertise and responsibilities to respond to a wide range of conduct in schools.




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Further, the Final Rule fails to explain how these new requirements will reduce the prevalence of

sexual assault and harassment, or otherwise promote the ends of Title IX.

                   a. The Final Rule arbitrarily changes evidentiary standards and departs
                      from agency practice.

       148.    The Final Rule provides that a recipient must “[s]tate whether the standard of

evidence to be used to determine responsibility is the preponderance of the evidence standard or

the clear and convincing evidence standard, apply the same standard of evidence for formal

complaints against students as for formal complaints against employees, including faculty, and

apply the same standard of evidence to all formal complaints of sexual harassment.” Id. at

30,575 (§ 106.45(b)(1)(vii)).

       149.    The Final Rule departs from decades of Department practice by requiring that

institutions use the same standard of evidence for complaints against students as those against

employees, and by making it harder for institutions to use the preponderance of the evidence

standard. This is at odds with the standards used by the Department and other federal agencies in

administratively enforcing federal civil rights laws, and frustrates Title IX’s anti-discrimination

mandate. Use of a clear and convincing standard would effectively impose a higher burden of

proof on complainants than respondents, in tension with the Final Rule’s separate requirement

that Title IX grievance procedures must treat complainants and respondents equitably, id. (§

106.45(b)(1)(i)); see also 2011 DCL at 11 (explaining that “[g]rievance procedures that use [a

clear and convincing] standard are inconsistent with the standard of proof established for

violations of the civil rights laws, and are thus not equitable under Title IX.”).

       150.    The Final Rule arbitrarily authorizes schools to impose a higher burden on

proving sexual harassment allegations than any other disciplinary allegations even if other

disciplinary proceedings carry an equal or greater sanction. The Department fails to justify this

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inconsistency, nor does it address that such a heightened and unequal standard perpetuates

pervasive stereotypes that complainants of sexual harassment and assault are more likely to

fabricate allegations than students who report other conduct violations.

       151.    Similarly, the Department failed to adequately explain why it has departed from

the evidentiary norm for resolving discrimination claims. The preponderance of evidence

standard is used in adjudicating administrative and civil claims of civil rights violations,

including claims under Title VI and Title VII. See 2011 DCL at 11. In the same vein, the

Department previously required that institutions use a preponderance of evidence standard in

Title IX investigations. Id.

       152.    Additionally, the Department fails to adequately explain the Final Rule’s

requirement that schools use the same standard of evidence for resolving claims of student-on-

student harassment as faculty-on-student harassment. In imposing this restriction, the Final Rule

arbitrarily fails to address how students are differently situated than employees, or why standards

for adjudicating Title IX complaints should be dependent upon the bargaining power of

particular employees or unions.

                   b. The Final Rule impermissibly requires institutions to adopt arbitrary
                      and unreasonably onerous procedural rules that limit, rather than
                      advance, Title IX’s broad protections against sex discrimination.

       153.    The Final Rule mandates a variety of additional procedural requirements, see

Final Rule at 30,575-78 (§ 106.45(b)), including that postsecondary institutions must provide for

a live hearing and cross-examination by each party’s “advisor of choice,” and “not rely on any

statement of [a] party or witness [that does not submit to cross-examination] in reaching a

determination regarding responsibility,” id. at 30,577 (§ 106.45(b)(6)(i)); that the decision-maker

must “determine whether [a] question is relevant and explain any decision to exclude a question



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as not relevant” before allowing a party to answer a question posed during cross-examination;

guarantee access to evidence to both parties, “including the evidence upon which the recipient

does not intend to rely,” id. at 30,576 (§ 106.45(b)(5)(vi)); and that institutions refrain from

“restrict[ing] the ability of either party to discuss the allegations under investigation or to gather

and present relevant evidence,” id. (§ 106.45(b)(5)(iii)).

       154.    Such specific, costly, and onerous one-size-fits-all procedures arbitrarily restrict a

school’s expertise and flexibility in responding to sexual harassment, impose heightened due

process requirements in adjudicating sexual harassment claims that create inexplicable

incongruity with other disciplinary procedures, and pose confusing and unworkable situations for

schools, including with respect to fulfilling additional legal and professional obligations.

       155.    For example, in imposing live hearing and cross-examination requirements, the

Final Rule fails to adequately explain why such legalized disciplinary hearings are necessary or

appropriate for all allegations of sexual harassment in the postsecondary education context.

Schools routinely employ alternative practices that provide accurate and fair determinations in

adjudicating sexual harassment allegations, as well as allegations with respect to violations of

similar anti-discrimination laws and conduct that implicates equal or greater sanctions.

Moreover, the Department acknowledges that live hearings and cross-examination are not

necessary in resolving the same conduct at the K-12 level.

       156.    The Final Rule declines to mandate live hearings and cross-examination for K-12

institutions based on the Department’s finding that “parties in elementary and secondary schools

generally are not adults with the developmental ability and legal right to pursue their own

interests on par with adults.” Id. at 30,364. However, the Final Rule mandates live hearings and

cross-examination for minors who are sexually harassed at post-secondary institutions, including,



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e.g., young children attending pre-schools housed on college campuses, high school students at

academic or athletic summer camps, high school students taking college courses for high school

credit at local colleges, and college students under 18, without justification or sufficient

explanation. Id. at 30,493. Conversely, a college student or other adult experiencing harassment

on a K-12 campus, such as a student teacher or volunteer, would be subject to the Final Rule’s

procedural requirements but would not be required to participate in a live hearing or cross-

examination. Relatedly, for education programs or activities that are not schools, such as

museums and libraries, the Final Rule applies the K-12 requirements, regardless of whether the

complainant or harasser are children or adults. Finally, the Final Rule makes no distinction

between high school students who are 18 or older, or college students under the age of 18, in

creating these drastically different procedural requirements based on the type of institution where

the harassment occurred. Nor does the Final Rule adequately consider the specific needs of

students with disabilities imposed by the one-size-fits-all procedural requirements. The

Department has failed to justify or adequately explain these arbitrary choices.

       157.    The Final Rule’s live hearing and cross-examination provisions fail to account for

the reality that students may, but need not, be represented by counsel, and that these hearings

will in many cases be managed by personnel who are non-attorneys, lack knowledge of

evidentiary rules, and may have difficulty making correct on-the-spot relevancy determinations

of questions posed during cross-examination, as they will now be required to do. Id. at 30,577

(§ 106.45(b)(6)(i)).

       158.    The Final Rule’s “advisor of choice” provision allows for complainants to be

cross-examined by a number of people whose very presence could re-traumatize them, including

a respondent’s twin brother, a respondent’s friend who witnessed the sexual assault at issue, or



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the respondent’s parent. The fact that an advisor need not undergo any specialized training

before conducting this cross-examination, and that, unlike an attorney, need not be bound by any

professional or ethical obligations further compounds this problem. The Final Rule fails to

account for the chilling effect caused by the new live hearing and cross-examination mandates.

        159.    And because the Final Rule explicitly demands that “the decision-maker(s) must

not rely on any statement of [a] party or witness in reaching a determination regarding

responsibility” if such “a party or witness does not submit to cross-examination at the live

hearing,” id. at 30,577 (§ 106.45(b)(6)(i)), many complainants will be faced with the difficult

choice of deciding between submitting to a traumatizing cross-examination, or withdrawing from

the process knowing that a finding of responsibility will be less likely. Accordingly, the Final

Rule would inexplicably bar schools from using a respondent’s confession, statement against

interest, or documentary evidence proving harassment occurred if the respondent refuses to

participate in cross-examination. This effectively requires schools to ignore evidence that would

be plainly admissible in court proceedings under the Federal Rules of Evidence and gives

respondents a get-out-of-jail-free card to avoid a finding of responsibility. The Department fails

to justify how these procedures will further Title IX’s anti-discrimination mandate of preventing,

addressing, and remedying sexual harassment.

        160.    The Final Rule’s requirement that the decision-maker at a Title IX hearing cannot

be the same person as a Title IX Coordinator, or the person who investigated the underlying

conduct, id. (§ 106.45(b)(7)(i)), arbitrarily invades on institutional flexibility, and will require

institutions to either hire new staff or divert resources from other critical institutional functions.

        161.    Similarly, the Final Rule includes an ambiguous and overbroad conflict of interest

rule, requiring “that any individual designated by a recipient as a Title IX Coordinator,



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investigator, decisionmaker, or any person designated by a recipient to facilitate an informal

resolution process, not have a conflict of interest or bias for or against complainants or

respondents generally or an individual complainant or respondent.” Final Rule at 30,575

(§ 106.45(b)(1)(iii)). Because the Final Rule newly confers on respondents the “right” under

Title IX to contest findings of responsibility based on a school’s alleged noncompliance with the

prescriptive new grievance procedures, this provision may enable respondents to evade

responsibility and prolong grievance proceedings based on the mere assertion that an individual

involved in the grievance process was “biased” against that student or “respondents generally.”

This may very well give schools pause on whether to appoint individuals with a background in

sexual violence prevention or a known interest in protecting survivors to these positions, even if

the individual is committed to impartiality in this role.

       162.    Department guidance has made clear that in crafting responses to sexual

harassment, the “critical issue under Title IX is whether responsive action that a school could

reasonably be expected to take is effective in ending the sexual harassment and in preventing its

recurrence.” 1997 Guidance at 12,034. In accomplishing this obligation, school personnel

should be offered “flexibility in how to respond to sexual harassment,” and, accordingly, the

Department has consistently acknowledged that “[p]rocedures adopted by schools will vary

considerably in detail, specificity, and components, reflecting differences in audiences, school

sizes, and administrative structures, State or local legal requirements, and past experience.” Id.

at 12,045; see also 2001 Revised Guidance at 29; 2011 DCL at 9.

       163.    The Final Rule fails to justify this departure from Department practice and

resulting intrusion into institutional autonomy.




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               5. The Final Rule hinders institutions’ ability to apply stronger state or local
                  protections against sexual harassment.

       164.    The Department asserts that the “dismissal of a formal complaint . . . does not

preclude a recipient from addressing the alleged misconduct under other provisions of the

recipient’s own code of conduct,” and that “nothing in these final regulations . . . inherently

prevents recipients from complying with State and local laws or policies.” Final Rule at 30037-

38, 30454, 30576. However, these assertions are belied by the many provisions in the Final Rule

that significantly constrain how schools may pursue investigations under other laws or policies.

       165.    The Final Rule’s preemption provision provides that “[t]o the extent of a conflict

between State or local law and title IX as implemented by §§ 106.30, 106.44, and 106.45, the

obligation to comply with §§ 106.30, 106.44, and 106.45 is not obviated or alleviated by any

State or local law.” Id. at 30,573 (§ 106.6 (h)). This provision—which was not included in the

Proposed Rule—may obstruct institutions’ ability to enforce state and local laws that are more

protective of students facing harassment than the Final Rule.

       166.    As a result, New York educational institutions may be precluded from providing

certain protections required by the State’s Enough is Enough law, including the right of reporting

individuals to file complaints against individuals at different educational institutions, to obtain

one-way no-contact orders or the requirement that investigators and adjudicators be trained under

a “trauma-informed” approach, without potentially running afoul of the Final Rule’s preemption

provision. See N.Y. Educ. Law §§ 6440(2), 6444(4)(a), 6444 (5)(c)(ii).

       167.    Many of NYCDOE’s policies and procedures for preventing and addressing

sexual harassment are required under DASA, which is tailored to the K-12 environment and sets

detailed requirements, including prompt timeframes for reporting and investigating student-to-

student and staff-to-student gender-based discrimination, harassment, intimidation, and bullying,

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including sexual harassment. See N.Y. Educ. Law §§ 10-18, 8 NYCRR § 100.2. NYCDOE will

be forced to overhaul its DASA-mandated protections to the extent that they conflict with the

rigid requirements of the Final Rule, if such piecemeal revision is even possible. The Final Rule

requires K-12 schools within New York to discard the State’s carefully considered framework

for addressing sexual harassment within elementary and secondary schools in favor of the Final

Rule, which fails to adequately consider the unique needs of K-12 students and schools.

        168.    The Final Rule fails to grapple with these and other potential conflicts, or their

damaging effect on the ability of institutions to maintain New York’s carefully considered

standards for addressing sexual harassment, including sexual assault.

        169.    The Final Rule’s retaliation provision, which was not included in the Proposed

Rule, provides that “[i]ntimidation, threats, coercion, or discrimination, including charges against

an individual for code of conduct violations that do not involve sex discrimination or sexual

harassment, but arise out of the same facts or circumstances as a report or complaint of sex

discrimination, or a report or formal complaint of sexual harassment, for the purpose of

interfering with any right or privilege secured by title IX or this part, constitutes [unlawful]

retaliation.” Final Rule at 30,578 (§ 106.71(a)). The provision also suggests that any action

taken against a respondent for refusing to participate in an investigation or grievance

proceeding—even if that is a calculated attempt to evade responsibility—will be treated as a

form of “retaliation” now prohibited by the Final Rule. Id.

        170.    Institutions may therefore be reluctant to address misconduct that does not meet

the Final Rule’s definitions under their own codes of conduct, if doing so could expose these

institutions to Title IX liability.




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       171.    The Department fails to grapple with the deterrent effects of this provision, or

otherwise advise institutions how to maintain their own investigations initiated concurrently with

or following the dismissal of a formal complaint.

       172.    Institutions face additional challenges should they attempt to investigate sexual

harassment before, or concurrent with, a Title IX investigation. Institutional staff who question a

respondent about sexual harassment allegations may not use any of the answers provided if a

formal complaint is later filed against the respondent. Id. at 30,287. This exclusionary rule

defies logic and appears to prevent an institution from using information about a respondent’s

actions—including conduct that plainly violates Title IX—simply because it was discovered

before a formal complaint was filed. Consequently, a school could be prevented from

responding to sexual harassment about which it has actual knowledge, at plain odds with its

statutory obligations under Title IX, if such knowledge was acquired too early.

       173.    The Department fails to address the Final Rule’s restraints on institutional

autonomy and its conflict with schools’ obligations to prevent, address, and remedy all sexual

harassment that is impeding or denying access to its education program or activity.

               6. The Final Rule arbitrarily removes important notice requirements for
                  prospective and current students and employees, but adds burdensome
                  new publication requirements.

       174.    The Final Rule, without sufficient justification, removes longstanding

requirements that institutions broadly disseminate their Title IX nondiscrimination policies,

including striking requirements in the existing 34 C.F.R. § 106.9 that schools publish their

policies in local newspapers, alumni publications, and written communications distributed to all

students and employees, newly limiting the publication requirement to a school’s “website, if

any, and in each handbook or catalog” made available to applicants, students, parents, and



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employees. Final Rule at 30,573 (§ 106.8(b)). The Final Rule removes the express

requirements, now contained in 34 C.F.R. § 106.9, that a school’s policies be disseminated to

persons involved in admissions or recruiting of students or staff. Id. It also unjustifiably amends

the longstanding requirement that a school “shall not use or distribute a publication . . . which

suggests, by text or illustration, that [it] treats applicants, students, or employees differently on

the basis of sex,” newly limiting it to publications “stating” a discriminatory policy. Id.

        175.    Since 1975, the Department has required that institutions claiming a religious

exemption submit a letter to the Department stating which parts of the regulation conflict with a

specific tenet of the religion. 34 C.F.R. § 106.12(b). Institutions have also been required to

provide assurances to the Department of their Title IX compliance. 34 C.F.R. § 106.4(a).

Without justification, the Final Rule provides that an “institution is not required to seek

assurance from [the Department] in order to assert” a Title IX religious exemption. Id. at 30,573

(§ 106.12(b)). Moreover, in the event that the Department notifies an institution that it is under

investigation for noncompliance with Title IX, it “may at that time raise its exemption.” Id.

        176.    The Department fails to offer an adequate justification for its proposed changes in

light of longstanding practice. Nor does the Department explain how these requirements confuse

or burden recipients; nor does it point to any evidence of such confusion or burden.

        177.    The Final Rule arbitrarily fails to consider how these relaxed requirements

conflict with other key obligations under Title IX, and their effect on students and prospective

students. Since 1975, the Department has required institutions to provide students with notice of

the institution’s compliance with Title IX. 34 C.F.R. § 106.9(a). The Final Rule similarly

requires institutions to notify prospective and current students and employees of their Title IX

policies. 34 C.F.R. § 106.8(a).



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       178.    By excusing an institution from submitting a religious exemption to the

Department until it is under investigation, the Final Rule allows recipients to avoid notice

provisions with impunity, and discriminate against students without warning. Such advanced

notice of an institution’s exemption from Title IX is especially important to women, LGBTQ

students, pregnant or parenting students, and students seeking birth control or other reproductive

health care.

       179.    While easing these other requirements, the Final Rule newly imposes a mandate

that schools publish all Title IX trainings on their websites, or otherwise make them publicly

available, for a period of seven years. Final Rule at 30,578 (§ 106.45(b)(10)(i)(D)). This

requirement was not included in the Proposed Rule and was not subject to notice and comment.

               7. The Final Rule ignores compliance with contrary federal law.

       180.    The Final Rule either ignores or fails to address its interaction or conflict with

other federal laws, including federal privacy laws, other civil rights laws protecting students and

school employees, and protections for individuals with disabilities.

                   a. The Final Rule allows for the disclosure of sensitive education records
                      in conflict with FERPA.

       181.    FERPA provides that no institutions receiving federal funds shall have a policy or

practice of permitting the release of a student’s educational records to private parties without the

written consent of that student’s parents. 20 U.S.C. § 1232g(b)(1). Education records are any

“records, files, documents, and other materials” that contain information “directly related to a

student,” that are “maintained by an educational agency or institution.” Id. § 1232g(a)(4)(A).

       182.    The Final Rule’s blanket requirement that an institution provide parties an

opportunity to “inspect and review any evidence obtained as part of the investigation that is

directly related to the allegations raised in a formal complaint, including the evidence upon

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which the recipient does not intend to rely,” Final Rule at 30,576 (§ 106.45(b)(5)(vi)), conflicts

with an institution’s FERPA obligations, as much of the evidence obtained through Title IX

investigations is sensitive personally identifiable information, and may be included within

education records.

       183.    Although the Final Rule provides that medical information cannot be disclosed

without consent, the Final Rule still allows respondents and advisors to Title IX investigations to

access other sensitive information, such as a complainant’s academic transcript in direct

contravention of FERPA’s broad protections.

                     b. The Final Rule’s new definition of “sexual harassment” conflicts with
                        Title VI, Section 504, Title II, and Title VII.

       184.    The Final Rule’s redefinition of sexual harassment departs from the definition

used by the Department for discriminatory harassment under Title VI, Section 504, and Title II.

It also conflicts with the definition of harassment used by the Equal Employment Opportunity

Commission and courts for cases involving sexual harassment against employees of educational

institutions. These inconsistent definitions conflict with the Department’s longstanding policy of

enforcing all civil rights laws similarly, and its obligation under Executive Order 12866 to

“avoid regulations that are inconsistent, incompatible, or duplicative with its other regulations or

those of other Federal agencies.” Moreover, this conflict exposes students and employees of

educational institutions to inconsistent protections, permitting or requiring institutions to ignore

harassment against students that it must address for employees. It also mandates that schools

maintain separate, inconsistent regimes to resolve harassment complaints depending only on

whether the underlying conduct is based on sex or some other protected classification.

       185.    The Final Rule’s redefinition of “education program or activity” arbitrarily limits

institutions’ ability to respond to sexual harassment, while the Department’s policies for other

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forms of discriminatory harassment are unchanged. The Final Rule’s redefinition thus creates a

weaker enforcement regime for sexual harassment relative to all other forms of harassment.

       186.    The Final Rule fails to address how schools should—or must—respond to

harassment based on sex and one or more other bases, such as race, national origin, or disability.

An African American student targeted for harassment because of the student’s race and sex, for

example, will now need to navigate multiple processes and conflicting standards in seeking help

from the student’s school, as will school officials charged with handling the complaint.

       187.    Similarly, the Final Rule fails to instruct institutions on how to investigate sexual

harassment complaints by employees, including student employees, that implicate both Title IX

and Title VII. The Final Rule mandates that a school must dismiss a complaint that does not rise

to the level of sexual harassment as defined in the Final Rule, id. at 30,574 (§ 106.45(b)), even

though this conduct may be actionable under Title VII’s hostile work environment or sex-based

harassment standards. Accordingly, a school faces a Catch-22: either dismiss a complaint made

by an employee alleging conduct that does not rise to the level of sexual harassment as defined in

Title IX and risk liability under Title VII, or pursue an investigation of allegations under Title

VII and risk liability under Title IX.

       188.    Finally, the Final Rule fails to address likely conflicts between the onerous

procedural requirements, including the cross-examination and live hearing requirements, and

schools’ Title VI obligations to serve students and parents with limited English proficiency.

                   c. The Final Rule undermines protections for individuals with disabilities.

       189.    The Final Rule fails to grapple with institutions’ concurrent obligations to

students and employees under federal disability rights laws, including Section 504, Title II, and

the Individuals with Disabilities Education Act, 20 U.S.C. §§ 1400-1482 (“IDEA”), and the



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conflicts between the Final Rule’s prescriptive procedural requirements and individuals’ rights

under these laws.

       190.    For example, the Final Rule’s definition of “formal complaint” makes no

exception for students with learning disabilities, students who are visually impaired, or students

with other disabilities who would have extreme difficulty submitting a signed, written complaint.

The Final Rule’s definition of “complainant” also presumes that students are both aware of and

have access to the Title IX coordinator and other responsible staff, without regard for the

challenges this may pose for students with particular disabilities.

       191.    The Final Rule’s live hearing requirement will similarly negatively impact

students with disabilities, who may not, or cannot, participate fully in such hearings. The cross-

examination requirement, and the other procedural requirements in the Final Rule, may also

stigmatize and discriminate against students with disabilities.

               8. The Final Rule fails to acknowledge and quantify widespread harms and
                  costs to schools resulting from its onerous requirements.

       192.    The Final Rule includes a Regulatory Impact Analysis purporting to quantify the

costs and benefits of the Final Rule. See Final Rule at 30,563-70.

       193.    The cost-benefit analysis in the Final Rule expressly refuses to quantify the

impact of the Final Rule on sexual assault incidents and harassment, despite the fact that such

incidents have concrete and obvious costs and are the very conduct the Final Rule governs. Id. at

30,539. Although the Department itself acknowledges that the Final Rule will result in a net

decrease of investigation into sexual harassment, it fails to consider the costs of a reduction in

reporting, and instead only considers the potential cost savings of such reductions. Id. at 30,547,

30,551. Despite expressly declining to assess the true costs of the Final Rule on sexual




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harassment outcomes, the Department concluded without evidence that “the mandatory offer of

supportive measures in § 106.44(a)” will reduce negative outcomes. Id. at 30,545.

       194.    The Final Rule further ignores or underestimates increased compliance and legal

costs that will result from implementation of the Final Rule. Id. at 30,549.

       195.    Moreover, the Final Rule’s estimate of the annual rate of Title IX complaints

based on sexual harassment or sexual violence is unreasonably low, and fails to account for

current trends in sexual harassment complaints, including in the Department’s own data.

IV.    The Final Rule Arbitrarily and Unreasonably Imposes a One-Size-Fits-All
       Grievance Procedure on K-12 School Districts, Like NYCDOE, That Have the Duty
       to Educate Children in a Safe School Environment.

       A.      NYCDOE’s Policies and Procedures Implementing Its Obligation to Address
               Sexual Harassment in a Developmentally Appropriate and Pedagogically
               Sound Manner.

       196.    NYCDOE is committed to maintaining a safe and supportive educational and

work environment for all students, employees, applicants for employment, and other individuals

who do business with the NYCDOE, use NYCDOE facilities, or otherwise interact with the

NYCDOE, that is free from unlawful discrimination, harassment, or bullying of students. To

further this goal, NYCDOE has promulgated a set of regulations that aim to prevent harassment,

intimidation, discrimination, and bullying of students; require the reporting of this alleged

conduct; ensure prompt, fair, and developmentally appropriate investigations; and provide both

victims and accused students with interventions, supports and, where applicable for students who

have been found to have engaged in sexual harassment, a pedagogically sound disciplinary

response consistent with federal and state requirements.

       197.    NYCDOE’s specific policies and procedures implementing this commitment to

students and employees are codified in Chancellor’s Regulations A-830, Anti-Discrimination



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Policy and Procedures for Filing Internal Complaints of Discrimination (“A-830”), A-831,

Student-to-Student Sexual Harassment (“A-831”), and A-832, Student-to-Student

Discrimination, Harassment, Intimidation, and/or Bullying (“A-832”).17

        198.     Because NYCDOE serves children in grades K through 12, and because

children’s physical, emotional, and mental development is constantly evolving throughout their

elementary and secondary school years, the procedures that NYCDOE has developed to address

reports of sexual harassment involving students, either as a victim, witness, or the accused, seek

to address sexual harassment in a developmentally appropriate and pedagogically sound manner

focused on maintaining students’ access to NYCDOE programs, activities, resources, and

supports.

        199.     Because of the compulsory nature of elementary and secondary education, and

NYCDOE’s responsibility to act in loco parentis during the school day, NYCDOE’s policies and

procedures to address sexual harassment are also designed with the goal of resolving matters

expeditiously and with the flexibility needed to fashion age-appropriate remedies, interventions

and supports that allow schools to maintain a safe environment and to appropriately address

young students’ physical, emotional, and educational needs.

                 1. NYCDOE’s policies preventing and addressing student-to-student sexual
                    harassment.

        200.     A-831 sets forth NYCDOE’s policy prohibiting sexual harassment committed by

students against other students.18 A-831 covers conduct between students that occurs during,

before, or after school hours, on school property, at school-sponsored events, on NYCDOE-


17
   The Chancellor’s Regulations are available at https://www.schools nyc.gov/about-us/policies/chancellors-
regulations/volume-a-regulations/3.
18
   NYCDOE’s policies prohibiting student-to-student gender-based harassment, discrimination, intimidation, and
bullying are set forth in A-832, which provides similar procedures for the reporting and investigating of such
complaints.

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funded transportation, or off school property, if the conduct disrupts or would foreseeably disrupt

the educational process or endangers or would foreseeably endanger the health, safety, morals, or

welfare of the school community.

        201.    A-831 prohibits unwelcome conduct or communication of a sexual nature which

is sufficiently severe, pervasive, or persistent as to: (1) substantially interfere with a student’s

ability to participate in or benefit from an educational program, school-sponsored activity, or any

other aspect of a student’s education; (2) create a hostile, offensive, or intimidating school

environment; or (3) otherwise adversely affect a student’s educational opportunities. Sexual

harassment may be a single incident or a series of related incidents.

        202.    A-831 expressly covers sexual harassment committed through social media and/or

other electronic communications.

        203.    In addition, A-831 covers conduct that constitutes sexual harassment regardless of

the gender, sexual orientation, gender identity, or gender expression of any of the students

involved.

        204.    A-831 sets forth a comprehensive reporting structure for complaints of student-to-

student sexual harassment that provides multiple avenues for students, parents and other

individuals to report student-to-student sexual harassment. It also requires all school employees

who witness or have knowledge or notice of student-to-student sexual harassment to immediately

report the conduct through mandated channels.

        205.    Pursuant to A-831, as required under DASA, NYCDOE investigates all covered

allegations of sexual harassment and does not put the onus on young student victims, or on their

parents or guardians, to informally or formally request an investigation before NYCDOE takes

this investigative and remedial action.



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         206.     A-831 also sets forth procedures for resolving reports of student-to-student sexual

harassment in a prompt, equitable, and developmentally appropriate manner that balances the

need for both appropriate resolution and appropriate procedural protections for victims,

witnesses, and accused students. Developmentally appropriate methods are particularly

important in order to minimize trauma to the impacted students and to increase reliability of the

outcome.19

         207.     Providing appropriate interventions and remedies is of paramount importance in

the K-12 context both for safety and pedagogical reasons. There are significant programmatic

and legal impediments preventing the NYCDOE from removing a student from a school given

students’ right to compulsory education and to attend the public schools in the district in which

they reside, see N.Y. Educ. Law § 3202(1), specific grade-level curricular and instructional

requirements for students, some students’ rights under federal laws to a particular school or

classroom placement, due process protections afforded to students, and pedagogical interests in

maintaining the continuity of instruction and minimizing disruptions to students’ education.

Accordingly, NYCDOE must adhere to a careful scheme that ensures all students’ rights are

protected during and after an investigation and any disciplinary process.

         208.     Prompt resolution is also important in the K-12 context in order for schools to

provide pedagogically sound discipline to accused students. A delayed response will be less

effective at correcting behavior as appropriate.

         209.     NYCDOE’s prompt and equitable procedures provide for: (1) immediate notice to

the victim and accused students, and their parents; (2) a completed investigation by the school


19
  The principal/designee is required to report any criminal activity to the New York City Police Department
(“NYPD”). In addition, if a report cannot be appropriately investigated at the school level because of the nature and
seriousness of the reported allegations, the principal/designee is to contact the Title IX Coordinator for further
guidance.

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principal or their designee (“principal/designee”) within five school days of receipt of the report,

including interviews and obtaining written statements from both parties and witnesses, and

collection of all relevant evidence; (3) an evaluation by the principal/designee of whether the

evidence substantiates the allegations and whether A-831 was violated using the preponderance

of the evidence standard; and (4) within ten school days of receipt of the report, written notice to

the parents of the victim and the parents of the accused student regarding whether any allegations

are substantiated and whether the conduct constitutes a violation of A-831.

       210.    NYCDOE’s policies and procedures for addressing reports of sexual harassment

do not allow students to question each other directly or through the principal/designee or to see

the evidence that is collected, except as provided for in connection with a student’s rights related

to the imposition of a disciplinary suspension. Indeed, NYCDOE does not place a student

directly in an adversarial position with another student or employee under any circumstances.

Students, including victims and witnesses, are often already reluctant to cooperate with

investigations not only because of various social pressures, but also because of concerns for their

safety in certain situations. Subjecting student victims and witnesses to questioning by other

students or disclosing the fact that a student witness has cooperated by sharing their statement

with other students would have a marked chilling effect.

       211.    Consistent with NYCDOE’s obligation to educate all students and to act in loco

parentis during the school day, A-831 also requires the principal/designee to provide

interventions or supports to the victim, witnesses, and the accused student after the conclusion of

the investigation and at any time during the investigation, as appropriate. Examples of such

interventions include counseling support, education or mental health services, and academic

supports and adjustments such as changes in classes, lunch/recess, or after-school program



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schedules, to the extent possible. Principals/designees are required to develop individual support

plans for students who have been the victim of, or students found to have engaged in, two or

more violations of A-831 within any school year.

           212.     If the principal/designee determines that the accused student violated A-831, they

are required to take appropriate steps to ensure the conduct has stopped and may also impose a

disciplinary response consistent with NYCDOE’s Citywide Behavioral Expectations to Support

Student Learning (“Discipline Code”),20 which is NYCDOE’s statutorily required code of

conduct. See N.Y. Educ. Law § 2801. The Discipline Code utilizes a progressive model of

discipline, which emphasizes social emotional learning and incremental interventions for

positive behavioral change and accountability.

           213.     If a principal/designee seeks to impose a disciplinary response that involves the

removal of a student from a classroom or a suspension, Chancellor’s Regulation A-443, Student

Discipline Procedures, sets forth detailed procedures and requirements that must be followed in

order to afford the student appropriate due process, as required by the Constitution and

applicable laws. See, e.g., Goss. v. Lopez, 419 U.S. 565 (1975) (due process requirements for

student discipline); N.Y. Educ. Law § 3214 (codifying same).

                    2. NYCDOE’s policies preventing and addressing sexual harassment of
                       students by employees.

           214.     It is NYCDOE’s policy that sexual behavior of any form involving a NYCDOE

employee where a student is involved is misconduct and will not be tolerated.

           215.     A-830 requires any employee who witnesses sexual harassment by a NYCDOE

employee or who has knowledge that a student may have been the victim of such behavior to

report the conduct to the principal/designee within one school day and, within two school days,


20
     Available at https://www.schools.nyc.gov/school-life/know-your-rights/discipline-code.

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to submit an electronic complaint to the NYCDOE Office of Equal Opportunity and Diversity

Management (“OEO”). Any individual, including parents and students, may file a complaint

with OEO.

        216.     Chancellor’s Regulation A-412 also requires NYCDOE employees to

immediately report any information concerning sexual misconduct by NYCDOE employees

involving students to their principal/supervisor and to the Special Commissioner of Investigation

for the New York City School District (“SCI”), a law enforcement agency that operates

independently of NYCDOE to investigate, among other things, allegations of sexual misconduct

by NYCDOE employees and vendors. Parents and vendors may also report directly to SCI.

When the alleged misconduct would constitute a crime, NYCDOE principals and supervisors

must also notify the police.

        217.     SCI generally investigates reports of sexual misconduct by employees that do not

rise to the level of criminal conduct or that the police decline to investigate. OEO refers to SCI

all reports it receives of sexual misconduct by a NYCDOE employee.

        218.     Once SCI conducts an investigation, it submits its final report, if the allegations

are substantiated, to the NYCDOE Chancellor (the “Chancellor”).21

        219.     Depending on the nature of the allegations, an employee who is the subject of the

investigation may be removed or reassigned from their position while the SCI investigation is

pending. NYCDOE may also provide interventions and supports to the victim and witnesses of

the reported sexual harassment or misconduct, as appropriate.




21
  In some cases, depending on the allegations, SCI may refer a report of sexual misconduct by an employee back to
OEO without conducting an investigation. In those cases, OEO conducts an investigation in the same manner as it
investigates complaints of sexual harassment filed by an employee against another employee.

                                                       70
       220.    Upon receipt of an SCI report that substantiates allegations of sexual misconduct

or sexual harassment, NYCDOE can proceed to disciplinary proceedings, which vary dependent

upon the title and status of the subject employee. Discipline may include immediate termination,

suspension, a letter to file, and/or a disciplinary hearing as required by state law and collective

bargaining agreements. See N.Y. Educ. Law § 3020-a; N.Y. Civ. Serv. Law § 75.

               3. NYCDOE’s policies preventing and addressing sexual harassment of
                  employees by other employees.

       221.    NYCDOE's policies for investigating and adjudicating complaints of sexual

harassment of an employee by another employee comply with applicable law, including Title IX,

Title VII, the New York State Human Rights Law, and the New York City Human Rights Law.

       222.    A-830 provides broad protections from sexual harassment for employees,

including from unwelcome sexual advances, requests for sexual favors, and other verbal or

physical conduct or communication of a sexual nature when: (1) submission to such conduct is

made either explicitly or implicitly a term or condition of an individual’s employment;

(2) submission to or rejection of such conduct by an individual is used as the basis for

employment decisions affecting such individual; or (3) such conduct has the purpose or effect of

unreasonably interfering with an individual’s work performance or creating an intimidating,

hostile, or offensive working environment.

       223.    Any NYCDOE employee may file a sexual harassment complaint regarding

another employee with OEO within one year of the event that is the subject of the complaint.

       224.    OEO investigates such complaints and prepares a report for the Chancellor

regarding whether the allegations are substantiated by a preponderance of the evidence and

whether the respondent has violated A-830.




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       225.    OEO notifies the respondent employee in writing of the Chancellor’s

determination regarding whether the employee has violated A-830.

       226.    If the violation results in discipline, then discipline is imposed as appropriate and

according to the nature of the person’s title and status as an employee. Discipline may include

termination, suspension, a letter to file, and/or a disciplinary hearing required by state law and

collective bargaining agreements. See N.Y. Educ. Law § 3020-a; N.Y. Civ. Serv. Law § 75.

       B.      The Final Rule Imposes Grievance Procedures that Require K-12 Students to
               Engage in an Adversarial Process That Is Not Developmentally Appropriate
               or Suitable for School-Age Children and Will Traumatize Students.

               1. The Final Rule creates a formal adversarial process that is unsuitable for
                  and harmful to K-12 students.

       227.    The Final Rule imposes formalized grievance procedures that require elementary

and secondary schools to force children as young as four years old into adversarial roles in a

litigation-like proceeding. K-12 schoolchildren should not be burdened with a system that

assumes they possess the same judgment, experience, or maturity as adults to understand or

participate in the adversarial process envisioned in the Final Rule.

       228.    Requiring a child victim to participate in the adversarial process created by the

Final Rule will be particularly traumatizing where the adversary is an adult employee. The

adversarial process is also developmentally inappropriate and will be traumatizing to student

victims and witnesses as well as to students accused of sexual harassment.

       229.    The Final Rule creates an undue burden on parents and students to obtain support

from an attorney or other advisor in order to navigate the new responsibilities placed on the

parties. Under the existing non-adversarial NYCDOE procedures, the majority of those

responsibilities are handled by NYCDOE staff.




                                                 72
       230.     Several provisions in the Final Rule arbitrarily require K-12 schools to treat the

victim and accused employee or student as adversaries in a manner that will cause a chilling

effect, re-traumatize students, and impede the ability of K-12 schools to effectively identify,

respond to, and investigate the allegations of sexual harassment:

               Schools must disclose to both the victim and the accused employee or student all

                evidence obtained as part of the investigation that is directly related to the

                allegations raised in the formal complaint and give them at least ten days to

                submit a written response. Final Rule at 30,576 (§ 106.45(b)(5)(vi)).

               Schools must prepare an investigative report that summarizes the relevant

                evidence and send it to both parties at least ten days before the determination of

                responsibility for their review and response. Id. at 30,576-77 (§ 106.45(b)(5)(vi)).

               As part of the response to the investigative report, the victim and the accused

                employee or student must have the opportunity to submit written cross-

                examination questions to the other party (other than certain prohibited questions)

                and to the witnesses. After receiving the answers, parties must be given the

                opportunity to submit follow-up questions. Id. at 30,577 (§ 106.45(b)(6)(ii)).

       231.     Reviewing evidence or an investigative report in order to prepare a response or to

formulate questions for an adversary or witnesses would be a challenge for an adult; for a K-12

student, particularly younger students, it is developmentally inappropriate and will be at best

incomprehensible and at worst traumatizing for the victim and/or the accused student to have to

participate in the review of an investigator’s accumulation and evaluation of evidence regarding

whether the student was the victim or found to have engaged in sexual harassment.




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        232.     The creation of disclosure requirements akin to discovery required in criminal and

civil proceedings is inappropriate for the K-12 school context.

        233.     It is unreasonable and irrational to burden K-12 students and their parents with the

responsibility of creating and responding to written cross-examination questions (and further

follow-up questions) regarding allegations of sexual harassment. Forcing K-12 students to

confront written, potentially leading, cross-examination questions and prepare written answers

will re-traumatize victims and witnesses and is counterproductive to creating a supportive school

environment.

        234.     The Final Rule’s requirements that K-12 schools disclose all evidence obtained as

part of the investigation and allow for written cross-examination of witnesses as a matter of

regular practice in Title IX investigations is inappropriate in the K-12 context. Children do not

have the judgment, maturity or experience to understand the obligation or necessity to keep such

information confidential and as a result may disclose sensitive information regarding other

students or employees. In addition, children are often already reluctant to cooperate with

investigations as a result of social pressures and safety concerns and will be even less likely to do

so once they understand that the school will regularly identify witnesses and provide their

statements and any other evidence obtained as part of the investigation to the victim and the

accused student or employee.22 These procedures will have a chilling effect on the reporting of

sexual harassment and, therefore, will significantly impede schools’ ability to prevent and

address sexual harassment.




22
  Disclosure of student witness statements and any other evidence obtained as part of the investigation to another
student or an employee may violate Chancellor’s Regulation A-820, Confidentiality and Release of Student Records;
Records Retention, as well as FERPA, which protect the privacy and confidentiality of a student’s educational
records from disclosure without consent or an applicable exception.

                                                       74
       235.    The Final Rule fails to adequately consider the developmental differences

between K-12 students and adults in the higher education context and arbitrarily imposes a one-

size-fits-all adversarial proceeding on all students that will be harmful to K-12 victims,

witnesses, and accused students.

       236.    The Final Rule also arbitrarily fails to consider that because K-12 schools cannot

deprive a student of educational benefits without providing due process, K-12 schools already

provide students who are determined to be responsible for sexual harassment with due process

that meets Constitutional requirements before imposing discipline.

               2. The Final Rule repeatedly subjects school-age victims and witnesses to
                  multiple and unnecessary traumatizing interviews and encounters with
                  adult investigators.

       237.    The grievance procedures imposed by the Final Rule will require vulnerable

children to be repeatedly questioned by multiple adults about the details of their sexual

harassment and abuse. For example: (a) the victim may make an initial report to an employee;

(b) the victim will have to discuss the allegations with the Title IX Coordinator (Final Rule at

30574-75 (§ 106.44(a)); (c) if the victim or the Title IX Coordinator files a formal complaint, the

victim will be re-interviewed and witnesses will be interviewed as part of the school’s

investigation; and (d) the victim and witnesses will have to submit to written cross-examination

(and further follow up questions) directly by the accused student or employee, or their advisor.

Final Rule at 30,577 (§ 106.45(b)(6)(ii)).

       238.    Children who have been victimized by an employee, or another student where the

student conduct is criminal in nature, will also face further questioning. NYCDOE considers any

conduct of a sexual nature involving an employee and a student to be sexual misconduct that

must be referred to the NYPD and/or SCI, an independent law enforcement agency with trained



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law enforcement investigators. NYPD and/or SCI will interview the victim and any student

witnesses, at least once if not multiple times, and if the employee is eventually arrested and

prosecuted, victims and witnesses may have to testify at criminal hearings and trials, which may

also include cross-examination.

       239.    The Final Rule deprives schools of their discretion to a utilize a trauma-informed

approach that reduces the number of times a child is asked to recount their sexual harassment or

abuse, particularly where SCI or NYPD is involved, and instead imposes an arbitrary mandate

that will require school-age victims to repeatedly retell and relive their abuse in front of strangers

and in some cases, their abuser.

       240.    The Final Rule subjects school-age victims and witnesses to repetitive interviews

by many adults that will be re-traumatizing, could have a detrimental effect on a child’s

education, and may also result in less reliable investigations as memories fade over time or

students and witnesses move on to other schools or decide not to cooperate, all of which will

make it more difficult for schools to effectively investigate allegations of sexual harassment.

               3. The Final Rule arbitrarily and unreasonably creates an adversarial
                  process that prevents K-12 schools from promptly investigating
                  complaints of sexual harassment

       241.    Prompt resolution of complaints of sexual harassment is important in the K-12

context both for student safety and for schools to impose pedagogically sound interventions and

discipline to accused students.

       242.    NYCDOE currently requires schools to investigate and issue a determination

regarding a report of student-to-student sexual harassment within ten school days and to

promptly provide interventions and impose any disciplinary response in accordance with




                                                 76
NYCDOE’s “Citywide Behavioral Expectations to Support Student Learning,” also known as the

Discipline Code.

       243.    NYCDOE’s Discipline Code is adopted in accordance with New York Education

Law § 2801, which mandates that school districts adopt codes of conduct to maintain order on

school property. Because school districts act in loco parentis to K-12 students during the school

day, schools have a particularly strong interest in maintaining order on school property and

ensuring student health and safety. The Discipline Code sets forth clear expectations for student

behavior. In order for it to be effective, the NYCDOE must apply the code consistently, and

respond swiftly, and promptly to address student misconduct, while simultaneously ensuring that

any discipline imposed still affords full due process protections for students.

       244.    In contrast, the Final Rule imposes grievance procedures that will undoubtedly

take many weeks, if not months, to complete. The Final Rule requires schools to, inter alia:

(a) provide both parties an electronic or hard copy of all evidence obtained as part of the

investigation that is directly related to the allegations raised in the formal complaint and wait at

least ten days for any response before finalizing the investigatory report required by the Final

Rule, Final Rule at 30,576 (§ 106.45(b)(5)(vi)); (b) prepare an investigatory report summarizing

the relevant evidence and provide both parties at least ten days to submit a response to the report,

including written cross-examination questions for the other party and witnesses, id. at 30,576-77

(§§ 106.45(b)(5)(vii), 106.45(b)(6)(ii)); (c) assign a different person to be the decision-maker to

review the investigatory report and responses from the parties, and oversee a time-consuming

process for written cross-examination and re-cross-examination, id. at 30,577 (§§

106.45(b)(6)(ii), 106.45(b)(7)(i)); (d) issue an extremely detailed written determination similar to

what a judge would issue after a civil bench trial or a hearing officer would issue after an



                                                 77
administrative hearing, id. at 30,577 (§ 106.45(b)(7)(ii)); and (e) provide both parties certain

appeal rights, assign a third person to review the appeal and issue a written decision explaining

the result, id. at 30,577-78 (§106.45(b)(8)).

       245.    By delaying disciplinary consequences for weeks, or even months, the Final Rule

minimizes the pedagogical effect disciplinary sanctions have on a child. A delayed disciplinary

response will be less effective at correcting behavior and will not have the same deterrent and

remedial impact individually, school-wide, and cumulatively and systemically across the

NYCDOE. Such a result is counterproductive to NYCDOE’s emphasis on progressive discipline

and the fostering of supportive school environments.

       246.    This prolonged timeframe will also significantly impede NYCDOE’s ability to

maintain order, and ensure student health and safety, by delaying NYCDOE’s adjudication of

sexual harassment complaints and imposition of appropriate disciplinary responses in accordance

with the Discipline Code.

       247.    The Final Rule does provide that a student can be removed from school during the

weeks and potentially months of investigation required by the grievance procedures, but

arbitrarily limits such removal to circumstances where there is an “immediate threat to the

physical health or safety of any student or other individual arising from the allegations of sexual

harassment.” Final Rule at 30,575 (106.44(c)). This is in direct conflict with New York State

law that appropriately gives schools discretion to suspend a student pending a hearing for any

conduct that “poses a continuing danger to persons or property or an ongoing threat of disruption

to the academic process.” N.Y. Educ. Law § 3214(3)(b)(1). The Final Rule’s arbitrarily

imposed standard may prevent NYCDOE from removing a student that poses a danger to other

students or disrupts the school environment during the weeks, even months, of the required



                                                 78
grievance procedures, which will frustrate NYCDOE’s obligation to ensure a safe school

environment.

        248.     In cases where NYCDOE could meet the Final Rule’s arbitrary standard to

remove a student, the Final Rule’s grievance procedures directly conflict with the complex legal

framework for student disciplinary proceedings required by Constitutional mandates23 and

obligations with regard to students with disabilities promulgated under the IDEA.24

        249.     The NYCDOE must provide a student that is subject to an emergency removal

under the Final Rule with a due process hearing (with the opportunity to present evidence and

question and present witnesses) within five days of the removal.25 For students with disabilities,

NYCDOE is required to hold a Manifestation Determination Review within ten school days of

the removal, in order to determine whether the student’s behavior was a manifestation of the

student’s disability. These proceedings would occur prior to the completion of the grievance

procedures, and essentially require findings of fact to be made before completion of the Final

Rule’s grievance proceedings. After the completion of the Final Rule’s grievance proceedings, if

a further suspension is deemed appropriate, the student may be entitled to another due process

hearing in connection with the suspension. Thus, the Final Rule untenably imposes on schools,

parties, and witnesses multiple and redundant factfinding hearings throughout the complaint

process, where student victims could be asked to testify repeatedly, and the accused student may

also be subject to multiple suspensions for the same conduct.




23
   See, e.g., Goss, 419 U.S. at 565.
24
   20 U.S.C. § 1400 et seq.; 34 C.F.R. pt. 300; codified with respect to New York State at e.g., N.Y. Educ. Law §§
3214, 4404; 8 NYCRR pt. 201.
25
   See N.Y. Educ. Law § 3214(3)(c).

                                                        79
                                        INJURY TO PLAINTIFFS

        250.     The Final Rule harms Plaintiffs’ economic interests, as well as the State’s

sovereign, and quasi-sovereign interests.

        A.       The Final Rule Harms Plaintiffs’ Economic Interests.

        251.     The State, through NYSED and the SUNY system, directly oversees over 5,000

public elementary and secondary schools, serving approximately 2.6 million students, and public

colleges and universities, serving more than 700,000 students in two-year, four-year, and

graduate programs.26 SUNY and NYSED are governed by the Board of Regents, which is

responsible for the general management and supervision of all educational activities within the

State, including K-12 schools, postsecondary institutions, and cultural institutions. In addition,

there are more than 100 private colleges and universities in the State that are subject to Title IX’s

requirements, serving over 500,000 students.27 NYCDOE is the largest public school district in

the nation, serving 1.1 million students in over 1,600 schools. In total, New York educational

institutions affected by the Final Rule serve over 3.8 million students.

        252.     Educational institutions in New York, including those operated or governed by

Plaintiffs, will expend significant financial resources in order to implement the Final Rule.

Although the Final Rule acknowledges some costs to institutions in implementing the Final Rule,

it fails to adequately consider the full range of administrative and financial burdens that

institutions will experience or to weigh those costs against any benefits of these onerous

requirements.




26
   N.Y. State Educ. Dep’t, NYSED Data Site, https://data nysed.gov/ (containing links to higher education and
public K-12 school enrollment data for the 2018-2019 school year).
27
   Id.

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       253.    The Final Rule imposes a host of new, stringent limitations on the ability of

educational institutions to prevent, respond to, and investigate allegations of sexual harassment

and assault, and other conduct, along with onerous, arbitrary procedural requirements to resolve

complaints of sexual harassment. These provisions will impose new, unjustified financial and

administrative burdens on Plaintiffs and New York’s educational institutions, which must

implement these costly changes or risk losing billions in critical federal funds that they rely on to

provide education to New York students. SUNY, the largest system of public colleges and

universities in New York and one of the largest public higher education systems in the country,

receives over $1 billion annually in federal funds. NYCDOE receives $1.8 to $2 billion annually

in federal funds, including approximately $680 million under Title I of the Elementary and

Secondary Education Act and over $480 million to provide free breakfasts and lunches to

students.

       254.    First, the Final Rule mandates dozens of new procedural requirements, see

106.45(b), including, that higher education institutions provide for a live hearing, including

cross-examination “conducted directly, orally, and in real time by the party’s advisor of choice.”

Final Rule at 30,577 (§ 106.45(b)(6)(i)). If a student does not have an advisor, the institution

must provide one at no cost to the student. Id. An institution may “not rely on any statement of

[a] party or witness [that does not submit to cross-examination] in reaching a determination

regarding responsibility.” Id. For virtual live hearings, or where a complainant does not wish to

be in the same room as the respondent, institutions are required to provide “technology enabling

participants simultaneously to see and hear each other.” Id.

       255.    The Final Rule also prohibits the decision-maker at grievance hearings from being

the person who investigated the underlying complaint, or the person who serves as Title IX



                                                 81
coordinator, requiring schools to hire multiple people to perform functions previously performed

by one person. See Final Rule at 30,577 (§ 106.45(b)(7)(i)). Where schools lack resources to

hire new employees to fulfill these roles, they will be compelled to divert existing staff away

from other important educational functions to comply with the prescriptive Title IX

requirements.

       256.     Plaintiffs and New York educational institutions will incur significant expenses to

understand and comply with the Final Rule and its lengthy, cumbersome, and often confusing

new mandates, including by: familiarizing themselves with the extensive requirements of the

Final Rule, considering and establishing new policies and procedures to comply with those

requirements, training employees and students on their rights and obligations, hiring and training

additional staff to fulfill each stage of the grievance process, purchasing new technologies to

comply with the live hearing requirement, and complying with other aspects of the Final Rule.

       257.     Smaller institutions, such as community colleges, will be hardest hit by the

economic and administrative burdens caused by compliance with the Final Rule’s new grievance

procedures. Not only will these institutions have to hire new staff, but, as these institutions

typically do not have in-house counsel, they also will have to retain outside attorneys and assume

the high cost of obtaining legal advice on how to comply with the Final Rule.

       258.     The complicated matrix created by the Final Rule’s definitions and prescriptive

grievance procedures will increase institutions’ legal and compliance costs. The Final Rule’s

inconsistencies with federal, state, and local laws, and long-standing practices means that

institutions will need to spend more time evaluating how to comply with various conflicting

requirements, and will face new threats of liability if they comply with the Final Rule. For

example, compliance with the Final Rule could expose institutions to liability under Title VII,



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given that Title VII’s definition of actionable sexual harassment covers a much broader range of

conduct than the Final Rule’s definition. Similarly, compliance with the Final Rule could expose

institutions to liability under Section 504 or Title II, as the Final Rule’s live hearing and formal

complaint requirements do not currently provide accommodations for students whose disabilities

would limit their ability to meet these requirements.

       259.    Institutions may also need to expend significant resources on conducting

successive or parallel investigations where underlying conduct overlaps with other legal or code

of conduct prohibitions, to the extent such proceedings are not barred by the Final Rule’s

preemption and retaliation provisions. Moreover, both complainants and respondents will have

new grounds to challenge institutional compliance with the Final Rule, including respondents’

newly-conferred ability to challenge alleged procedural noncompliance with the Title IX

regulations, that will likely force schools to assume the burdens and costs associated with

investigating and resolving those complaints, and in defending themselves in any investigation

by the Department into alleged procedural violations of the detailed new rules.

       260.    Alone and in combination, these severe constraints on Plaintiffs’ operation and

governance of educational institutions will dramatically undermine their effectiveness and

efficiency, and lead to significantly increased costs.

       B.      The Unreasonably Short Implementation Deadline in the Midst of the Global
               COVID-19 Pandemic Will Harm Plaintiffs.

       261.    In normal times, it would be difficult, if not impossible, for most schools in New

York and elsewhere to comply with the Final Rule (including familiarizing themselves with the

rule, revising policies, conducting trainings, and purchasing technology) within the 87-day

period between the Final Rule’s publication and effective dates, particularly as the Final Rule

represents a radical alteration of the Department’s decades-old policies. The global COVID-19

                                                 83
pandemic has severely disrupted school operations in New York and across the country, and will

likely to continue to do so in the coming months and beyond. The Department’s refusal to

provide a reasonable implementation period under these circumstances is patently unreasonable

and indefensible. Institutions’ implementation of the Final Rule will impose undue economic

and administrative burdens on New York’s educational institutions, exacerbated by the

pandemic-related fiscal and administrative challenges they are facing.

        262.     At a time when institutions’ focus is properly on maintaining operations and

educating their students under unprecedented conditions, the need to devote significant resources

this summer to implementation of the Final Rule will impinge on these efforts and harm schools

and their students as a result.

        263.     Following the Governor of New York’s declaration of a state of emergency on

March 7, 2020 due to COVID-19, New York State has been in the throes of an unprecedented

public health crisis. See N.Y. Exec. Order 202, Declaring a Disaster Emergency in the State of

New York (Mar. 7, 2020).

        264.     New York is one of the epicenters of the pandemic and has suffered catastrophic

losses due to COVID-19. As of June 3, 2020, nearly 375,000 people in the State have been

diagnosed with COVID-19 and nearly 25,000 New Yorkers had died from it.28 In New York

City alone, 201,806 residents have been diagnosed with COVID-19, 52,456 have required

hospitalization to treat it, and at least 16,933 have died from it.29 Nationally, nearly 1.8 million




28
  N.Y. Dep’t of Health, COVID-19 Tracker, https://covid19tracker.health ny.gov (last accessed June 3, 2020).
29
  N.Y.C. Dep’t of Health & Mental Hygiene, COVID-19: Data, https://www1 nyc.gov/site/doh/covid/covid-19-
data.page (last accessed June 3, 2020).


                                                      84
people have been diagnosed with COVID-19 and over 100,000 people have died from the

disease.30

        265.    In response to this extraordinary public health emergency, the Governor ordered

all schools in New York to close temporarily on March 18, 2020. N.Y. Exec. Order No. 202.4.

This executive order was extended several times and remains in effect.

        266.    As a result, most public and private K-12 schools, colleges, universities, and other

educational institutions in the State are closed, with millions of students being forced to learn

remotely. The same is true for most educational institutions in other states, which are attended

by many of the State’s residents.

        267.    This sudden transition to remote learning has transformed the educational

landscape of New York State. With students, and institutional staff scattered among homes and

offices across the country, educational institutions now face the daunting task of teaching,

counseling and providing critical services to students remotely.

        268.    For most schools, moving virtually all of the services provided to students online

requires an institution-wide overhaul. This process strains institutional resources and is

immensely challenging for teachers, faculty, students and their caretakers.

        269.    In addition to educating over three million students, many public universities in

New York have also been called upon to provide critical medical care and public health expertise

as part of the State’s efforts to combat COVID-19. Staff within the SUNY hospital system, in

particular, are on the frontlines of fighting this pandemic.

        270.    The changes required by the lengthy Final Rule would be difficult for institutions

to digest and implement under normal circumstances. But in the midst of a global pandemic, the


30
   Centers for Disease Control & Prevention, CDC COVID Data Tracker, https://www.cdc.gov/covid-data-tracker/
(last accessed June 3, 2020).

                                                     85
burden placed on institutions is not only untenable, but risks undermining the health and safety

of New York residents.

        271.     Certain changes mandated by the Final Rule, such as the live hearing requirement,

are practically impossible to implement while schools are closed. The Final Rule’s significant

departure from Department practice will also sow confusion for ongoing Title IX investigations,

many of which are already complicated by school closures.

        272.     Given the incredible challenges already facing New York’s educational

institutions, they should not be asked to divert critical resources in order to implement the Final

Rule’s arbitrary, unlawful, and unprecedented changes.

        273.     Ignoring requests by states and educational institutions to delay issuance of the

Final Rule during the pandemic, the Department refused to delay publication of the rule and

ordered institutions to implement it in a mere 87 days. After the Final Rule was released,

Secretary DeVos dismissed concerns about the short implementation period, stating, “We’ve

been working on this for more than two years so it’s not a surprise to institutions that it was

coming,”31 disregarding the fact that the Final Rule differed in significant respects from the

Proposed Rule and the virtual impossibility of digesting the lengthy, complex rule; developing

and approving new policies to implement the significant changes from existing practice and

onerous new procedural requirements; training faculty, staff, and students on their modified

rights and obligations under the Final Rule; and simultaneously dealing with the unprecedented

and evolving changes related to the COVID-19 pandemic, all during the summer months.




31
  Mark Keierleber, DeVos releases Title IX campus sexual assault rule, courting controversy amid coronavirus
pandemic, LA School Report (May 6, 2020), http://laschoolreport.com/devos-releases-title-ix-campus-sexual-
assault-rule-courting-controversy-amid-coronavirus-pandemic/.

                                                       86
       C.      The Final Rule Interferes with Plaintiffs’ Effective Administration and
               Enforcement of State Laws and Institutional Policies.

       274.    New York has enacted laws that carefully balance the rights of students to attend

schools without experiencing sex discrimination, with concerns regarding fairness to

respondents, and the interests of educational institutions to respond in an appropriate manner for

their specific campuses. New York educational institutions have also developed policies,

practices, and procedures for investigating sex discrimination and other conduct violations

consistent with federal and state due process requirements and codes of conduct, which ensure

that educational environments are appropriately protected from various conduct that prevents

students from learning and thriving. The Final Rule upsets these carefully crafted balances,

frustrates Plaintiffs’ ability to comply with New York law and their own institutional policies,

and adds confusion regarding how Plaintiffs and New York educational institutions must

investigate and remedy sexual harassment.

       275.    First, the Final Rule’s narrow definitions, restrictions on institutional responses,

and dismissal provisions conflict with New York’s Enough is Enough law, which was enacted to

combat sexual assault on college and university campuses statewide, and DASA, which provides

broad protections for K-12 students and imposes obligations on K-12 schools to prevent and

respond to gender-based discrimination, harassment, including sexual harassment, intimidation,

and bullying. For example, Enough is Enough applies to students “regardless of whether the

violation occurs on campus, off campus, or while studying abroad.” N.Y. Educ. Law § 6440(6).

The Final Rule’s geographic limitations on what constitutes an education program or activity, see

106.44(a), directly conflict with this provision. Enough is Enough explicitly includes

confidentiality and privacy protections for students, including that institutions must comply with

FERPA, see id. § 6440(2), and that reports to institutions “shall be investigated in accordance

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with institution policy and a reporting individual’s identity shall remain private at all times if

said reporting individual wishes to maintain privacy,” see id. § 6444(1)(f); see also id.

§§ 6444(1)(c)-(e), 6446. The Final Rule’s mandatory disclosure requirement, Final Rule at

30,576 (§ 106.45(b)(5)(vi)), also conflicts with Enough is Enough’s requirement that schools

comply with FERPA. The Final Rule also creates potential conflicts with DASA’s investigation

requirements for sexual harassment in K-12 schools.

       276.    Second, the Final Rule creates uncertainty with respect to how institutions should

investigate claims of sexual harassment and sexual assault. The Final Rule’s restrictions on

which university staff can receive “formal complaints” interferes with procedures that have been

collectively bargained for, and through which employees covered under certain contracts agree

to become “responsible employees.” Likewise, NYCDOE and other K-12 school districts,

consistent with their commitment to maintaining a safe and supportive learning and work

environment for all students, employees, and others, and duties under federal, state and local law,

must now grapple with how to investigate conduct that does not meet the Final Rule’s revised

definition of sexual harassment, but is still conduct that would violate state and/or local law,

without running afoul of the Final Rule’s preemption and retaliation provisions. The Final Rule

offers no guidance on how institutions can reconcile its unduly restrictive definition of “sexual

harassment” with the definitions offered in competing federal laws or with existing duties under

collective bargaining agreements. Nor does the Final Rule offer any guidance to NYCDOE or

other K-12 districts on how to reconcile the many existing legal protections for K-12 students

and staff in this area that are incompatible with the Final Rule.

       277.    Third, the Final Rule fails to sufficiently define key terms, including its failure to

define “bias” and “conflict” in the requirement that decision-makers must be free of bias and



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conflict, and its failure to define “specific circumstances [that] prevent the recipient from

gathering evidence sufficient to reach a determination” with respect to permissive dismissals.

See Final Rule at 30,576 (§ 106.45(b)(3)(ii)).

       278.    Fourth, the Final Rule fails to account for the fact that institutions will have to

notify students of numerous, significant changes to its Title IX framework at a time when all

students are away from schools.

       279.    Finally, the Final Rule also conflicts with New York schools’ policies and

procedures governing a wide variety of conduct to ensure full participation and access to

education, while balancing due process concerns as required by federal and state law.

       D.      The Final Rule Harms New York’s Educational Institutions and the
               Provision of Education to All Students.

       280.    The Final Rule interferes with the right and statutory obligation of Plaintiffs,

educational institutions in New York, and schools throughout the country to provide a safe,

nondiscriminatory learning environment for their students. Schools have a legal obligation and

pedagogical interest in ensuring that all students—including survivors of sexual harassment—are

able to learn in a safe environment. As the Department has long recognized, sex discrimination

threatens the maintenance of a safe learning environment, and “can interfere with a student’s

academic performance and emotional and physical well-being.” 2001 Revised Guidance at ii.

Accordingly, “[p]reventing and remedying sexual harassment in schools is essential to ensuring a

safe environment in which students can learn.” Id.

       281.    By interfering with a school’s ability to maintain a learning environment

conducive to teaching and learning, restrictions on the school’s ability to respond to and prevent

harassment like those contained in the Final Rule frustrate that interest. The Final Rule directly

interferes with schools’ ability to take the many preventive and proactive actions previously


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required by Title IX. By arbitrarily narrowing the definition of sexual harassment and limiting

schools’ ability to respond, the Final Rule imposes barriers on schools’ ability to effectively

address the broad range of sex-based misconduct that impedes or denies students’ educational

opportunities, in conflict with Title IX’s statutory mandate and schools’ educational missions.

       282.    Not only will their educational access be limited, but many students may opt to

miss classes or drop out of school altogether due to a lack of safety, and compounding frustration

due to their school’s lack of response. These students experiencing sexual harassment at school

will no doubt face compounding physical, psychological, and emotional trauma as they watch

the perpetrators go unpunished. As a result, many victims of harassment may reasonably choose

not to report it to their schools, to avoid being subjected to the onerous and lengthy grievance

procedures that may result in no relief or protection from future harassment. The hostile

environment that many survivors will face—either during the prolonged period of the grievance

procedures or from remaining silent—will harm them and their classmates.

       283.    The Final Rule also mandates cumbersome procedures that are not

developmentally appropriate for children and will take weeks, if not months, to complete. This

will impede Plaintiffs’ interests in ensuring a safe educational environment for all students by

promptly and effectively investigating and adjudicating complaints of sexual harassment,

including the unique interests of minor children attending K-12 schools operated by NYCDOE

and other New York school districts.

       E.      The Procedures Mandated by the Final Rule will Harm NYCDOE Students.

       284.    By limiting NYCDOE’s ability to prevent, swiftly address, and properly

adjudicate allegations of sexual harassment, the Final Rule infringes on students’ right to an

educational environment free from sexual harassment.



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        285.    The Final Rule also requires school-age children to participate in an adversarial

process that is not developmentally appropriate and will be traumatizing to the victim, especially

where the student’s adversary is an adult employee, as well as to student witnesses and students

who are accused of sexual harassment. It also requires schools to conduct repeated interviews,

which will needlessly re-traumatize child victims and witnesses.

        286.    The Final Rule also creates a cumbersome grievance proceeding that will take

weeks or even months for a K-12 school to complete, causing ongoing harm to school-age

victims, witnesses and accused students.

        F.      The Final Rule Harms the State’s Interests in Protecting Civil Rights.

        287.    Plaintiff has an interest in protecting the civil rights of its citizens, which the Final

Rule dramatically undermines.

        288.    The Final Rule would impose disparate and harmful burdens on women, LGBTQ

students, students of color, and students with disabilities. For example, women and LGBTQ

students are more likely to experience sexual harassment and sexual assault in schools as

compared to other populations.32 The Final Rule’s unlawfully narrow definitions and limitations

on actionable behavior are likely to hinder institutions’ ability to take preventive or remedial

action, and will therefore cause even more women and LGBTQ students to experience sexual

harassment and sexual assault while at school.

        289.    Many of the Final Rule’s restrictive definitions and heightened grievance

procedures will disproportionately impact students with disabilities by imposing onerous barriers

to seeking and obtaining relief from sexual harassment imposed by the Final Rule.



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  See Ass’n of Am. Univs., Report on the AAU Campus Climate Survey on Sexual Assault and Sexual Misconduct
xii–xvi (2017), https://www.aau.edu/sites/default/files/AAU-Files/Key-Issues/Campus-Safety/AAU-Campus-
Climate-Survey-FINAL-10-20-17.pdf.

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                                     CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF

                (Administrative Procedure Act – Exceeds Statutory Authority)

       290.    Plaintiffs incorporate by reference the allegations set forth in each of the

preceding paragraphs of this Complaint.

       291.    Under the APA, courts must “hold unlawful and set aside agency action” that is

“in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

§ 706(2)(C).

       292.    Defendants may only exercise authority conferred by statute.

       293.    The Final Rule exceeds Defendants’ authority under Title IX because the Final

Rule legislates and implements narrow definitions and requirements that frustrate and limit the

obligation of schools to ensure that no person “shall . . . be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under” any federally funded education

program or activity “on the basis of sex.” 20 U.S.C. § 1681(a).

       294.    In addition, the Final Rule establishes prescriptive grievance procedures that

purport to regulate conduct outside of Title IX’s prohibition of discrimination based on sex and

undermine the autonomy of New York’s education institutions. Title IX only authorizes the

Department to issue rules “to effectuate the [anti-discrimination] provisions of [Title IX].” 20

U.S.C. § 1682. The Final Rule exceeds this authority by casting a school’s actual or alleged

noncompliance with the prescriptive grievance procedures as a form of sex discrimination, and

using that label to permit students accused of sexual harassment to challenge the outcome of

grievance procedures through the Title IX administrative enforcement process, absent any




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evidence that accused students have been systematically disadvantaged “on the basis of sex” or

that the conferral of these new rights will advance Title IX’s purpose.

       295.    The Final Rule is therefore “in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right,” in violation of the APA. 5 U.S.C. § 706(2)(C).

       296.    Defendants’ violation causes ongoing harm to Plaintiffs and to the State’s

residents.

                                SECOND CLAIM FOR RELIEF

               (Administrative Procedure Act – Not in Accordance with Law)

       297.    Plaintiffs incorporate by reference the allegations set forth in each of the

preceding paragraphs of this Complaint.

       298.    Under the APA, a court must set “aside agency action” that is “not in accordance

with law.” 5 U.S.C. § 706(2)(A).

       299.    The Final Rule conflicts with Title IX, including by, inter alia, narrowing the

scope of protected activity in contravention of the statute’s broad anti-discrimination mandate,

and narrowly redefining the term “program or activity” only in the context of sexual harassment.

       300.    The Final Rule conflicts with FERPA, which prohibits the unauthorized

disclosure of students’ educational records. 20 U.S.C. § 1232g(b)(1).

       301.    The Final Rule conflicts with Section 504, which prohibits the federal government

from discriminating against individuals with disabilities. 29 U.S.C. § 794(a).

       302.    The Final Rule conflicts with Executive Order 12866 which, inter alia, instructs

that an agency “shall avoid regulations that are inconsistent, incompatible, or duplicative with its

other regulations or those of other Federal agencies.” Exec. Order 12866 § 1(b)(10), 58 Fed.

Reg. 51,735 (Sept. 30, 1993). The Final Rule conflicts with the unamended portions of the



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Department’s Title IX regulations by, for example, (a) adding a new definition of “program or

activity” applicable only to sexual harassment that is inconsistent with the existing, unchanged

definition of the term in 34 C.F.R. § 106.2(h), and (b) restricting schools from responding to or

remedying sexual harassment, in conflict with the longstanding and continuing requirement that

schools affirmatively address all forms of discrimination on the basis of sex contained in 34

C.F.R. § 106.3(b). The Final Rule also conflicts with the Department’s regulations governing its

enforcement of discriminatory harassment based on other protected classifications under Title VI

and Section 504; other Department regulations governing student privacy, language access, and

disability rights; and Title IX regulations promulgated by other federal agencies.

       303.    The Final Rule further conflicts with Executive Order 12866, which mandates that

an agency “tailor its regulations to impose the least burden on society, including individuals,

businesses of different sizes, and other entities (including small communities and government

entities),” Exec. Order 12866 § 1(b)(11), by imposing uniform, onerous grievance procedures

and procedural requirements on all educational institutions, in disregard of the significant

burdens it will impose on institutions.

       304.    The Final Rule is therefore “not in accordance with law” as required by the APA.

5 U.S.C. § 706(2)(A).

       305.    Defendants’ violation causes ongoing harm to Plaintiffs and to the State’s

residents.

                                 THIRD CLAIM FOR RELIEF

                 (Administrative Procedure Act – Arbitrary and Capricious)

       306.    Plaintiffs incorporate by reference the allegations set forth in each of the

preceding paragraphs of this Complaint.



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       307.    The APA provides that courts must “hold unlawful and set aside” agency action

that is “arbitrary, capricious, [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A).

       308.    The Final Rule is arbitrary and capricious because Defendants’ justification for

their decision runs counter to the evidence before the agency, relies on factors Congress did not

intend the agency to consider, and disregards material facts and evidence.

       309.    The Final Rule is arbitrary and capricious because its definitions and requirements

create unworkable situations for Plaintiff and its institutions that frustrate the goals of Title IX

and impose costly and confusing requirements.

       310.    The Final Rule is arbitrary and capricious because it fails to adequately justify its

departure from decades of consistent and well-settled policy.

       311.    The Final Rule is arbitrary and capricious because it fails to consider important

aspects of the problem, including, inter alia, the Final Rule’s consequences on the reporting of

sexual harassment; its discriminatory impact on certain populations; the significant harm and

trauma that will result from requiring K-12 victims, witnesses and accused students to participate

in an adversarial process that is not developmentally appropriate or suitable for children; its

failure to address schools’ obligations to remedy hostile school environments resulting from

harassment; and its interference and conflict with the administration of FERPA, Title VI, Title

VII, Section 504, Title II, and the IDEA.

       312.    The Final Rule is arbitrary and capricious because Defendants conducted and

relied on a flawed cost-benefit analysis, citing benefits the Final Rule would confer without any

evidentiary basis, and failing adequately to account for the true costs the Final Rule will impose,

including the significant costs to Plaintiff and to the public health and safety of their residents.




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       313.    The Final Rule is arbitrary and capricious because Defendants predetermined its

outcome.

       314.    The Final Rule is therefore “arbitrary, capricious, [or] an abuse of discretion” in

violation of the APA. 5 U.S.C. § 706(2)(A).

       315.    Defendants’ violation causes ongoing harm to Plaintiffs and the State’s residents.

                               FOURTH CLAIM FOR RELIEF

  (Administrative Procedure Act—Without Observance of Procedure Required by Law)

       316.    Plaintiffs incorporate by reference the allegations set forth in each of the

preceding paragraphs of this Complaint.

       317.    The APA provides that courts must “hold unlawful and set aside agency action”

that is “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

       318.    The APA requires agencies to publish notice of all proposed rulemakings in a

manner that “give[s] interested persons an opportunity to participate in the rule making through

submission of written data, views, or arguments . . . .” 5 U.S.C. § 553(c); see also id. § 553(b).

       319.    The regulatory impact analysis in the Proposed Rule did not sufficiently identify

and quantify the costs and benefits of the rulemaking, evading the APA’s critical procedural

protections that ensure agency regulations are tested through exposure to public comment, and

denying Plaintiff and other affected parties an opportunity to present comment and evidence to

support their positions, in violation of 5 U.S.C. § 706(2)(D).

       320.    Certain significant provisions of the Final Rule were not included in the Proposed

Rule and were not otherwise subject to notice and comment, evading the APA’s critical

procedural protections that ensure agency regulations are tested through exposure to public

comment, and denying Plaintiff and other affected parties an opportunity to present comment and



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evidence to support their positions, in violation of 5 U.S.C. § 706(2)(D). These include the Final

Rule’s preemption provision, Final Rule at 30,573 (§ 106.6 (h)), retaliation provision, id. at

30,578-79 (§ 106.71), the permissive dismissal language allowing schools to dismiss complaints

under certain circumstances, id. at 30,576 (§ 106.45(b)(3)(ii)), and the requirement that schools

publish all Title IX training materials, id. at 30,578 (§ 106.45(b)(10)(i)(D)).

       321.       Defendants’ violations cause ongoing harm to Plaintiffs and the State’s residents.

                                      REQUEST FOR RELIEF

       Wherefore, Plaintiffs respectfully request that this Court:

       1.         Declare that the Final Rule is in excess of the Department’s statutory jurisdiction,

authority, or limitations, or short of statutory right within the meaning of 5 U.S.C. § 706(2)(C);

       2.         Declare that the Final Rule is arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law within the meaning of 5 U.S.C. § 706(2)(A);

       3.         Declare that Defendants failed to observe procedure required by law in issuing the

Final Rule, in violation of 5 U.S.C. § 706(2)(D);

       4.         Enjoin the Department and all its officers, employees, and agents, and anyone

acting in concert with them, from implementing, applying, or taking any action whatsoever under

the Final Rule;

       5.         Postpone the effective date of the Final Rule pending judicial review pursuant to 5

U.S.C. § 705;

       6.         Vacate and set aside the Final Rule in its entirety;

       7.         Award Plaintiffs their reasonable fees, costs, and expenses, including attorneys’

fees, pursuant to 28 U.S.C. § 2412; and

       8.         Grant other such relief as this Court may deem proper.



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DATED: June 18, 2020   Respectfully submitted,

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